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                       EXHIBIT A-3
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                                            •     Assembly/disassembly, inspection and testing of sub-assemblies (i.e.,
                                                  basic pulser replacement).
                                            •     Complete disassembly and disassembly of entire MWD and LWD tool.
                                            •     Inspection, testing and repair of sub-assemblies, i.e., advanced MWD
                                                  pulser repairs.

                                     (d) Electrical

                                            •     Basic functional and verification testing of LWD subs and probe strings.
                                            •     Advanced LWD subs and probe testing.
                                            •     Exchange of broken/damaged harnesses and connectors.
                                            •     Testing at temperature.
                                            •     PCB (Board) replacement.
                                            •     Opening of probes and LWD subs to board level.
                                            •     Testing of boards and exchange of boards.

                                     (e) Calibration

                                             •    Routine calibration of nuclear tools including GR and Neutron-Density
                                                  tools.
                                            •     Routine calibration of resistivity tools.
                                            •     Routine calibration of pressure measurement tools including FPWD and
                                                  PWD tools.

                            11.1.3 Prior to the EFFECTIVE DATE of the CONTRACT, CONTRACTOR shall have
                                   developed a detailed management plan to ensure that sufficient equipment and
                                   personnel resources are available at all times to service COMPANY's operations.

                                     The management plan will address the following as a minimum:

                                     (a) Repair and Maintenance (R&M) facilities to be located in the SPU.

                                     (b) Repair and Maintenance (R&M) facilities to be utilized at CONTRACTOR's bases
                                         located elsewhere.

                                     (c) Tool calibration and testing requirements.

                                     (d) Back-up equipment requirements.

                                     (e) Spare parts, tools etc.

                                     (f)   Turn around times where equipment R&M and calibration activities are to be
                                           completed in locations otherthan the SPU.

                                     (g) Transportation routes to be utilized for moving equipment to/from the Point(s) Of
                                         Mobilization and Demobilization.

                                     (h) Personnel requirements at the WORKSITE, within the SPU and any other
                                         location(s) where R&M and/or calibration activities may be required.


                        11.2 Storage and Transportation of Radio Active Sources




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                            11.2.1   CONTRACTOR shall be responsible for the following with respect to Radio Active
                                     source materials:

                                     (a) Transportation of Radio Active sources between CONTRACTOR's base of
                                         operation and COMPANY's Points of Mobilization and De-mobilization.

                                     (b) Provision of suitable shipping containers for the shipping of Radio Active sources
                                         between CONTRACTOR's base of operations and COMPANY's supply base.

                                     (c) Provision of suitable storage containers for the storage of Radio Active sources
                                         within COMPANY's supply base for the duration of the CONTRACT.

                                     Cd) Provision of suitable shipping containers for the transportation of Radio Active
                                         sources between COMPANY's supply base and the WORKSITE(s) on supply
                                         vessels.

                                     (e) Provision of suitable containers for the storage and transportation of Radio Active
                                         sources at the WORKSITE(s).

                                     (f)   Handling of all Radio Active sources at the Points of Mobilization and De-
                                           mobilization, COMPANY's supply base and WORKSITE(s) until all Radio Active
                                           material has been demobilized from COMPANY's supply base and
                                           WORKSITE(s) and returned to CONTRACTOR's base of operations.

                                     (g) Application and approval of all permits and licenses required by the local
                                         Government for the transportation, storage and use of Radio Active materials.

                                     (h) Provision of Radio Active Survey Meter to detect radiation around Radio Active
                                         storage container(s) and other necessary locations at the WORKSITE(s).

                                     (i)   CONTRACTOR shall provide all required permits/licenses/approval from relevant
                                           institution/government authorities to perform this WORK with no additional
                                           charge or expenses to COMPANY. CONTRACTOR shall indemnify and hold
                                           COMPANY harmless from and against all liability, demands, levies, fines
                                           and expenses in the event CONTRACTOR fails to acquire such
                                           permits/licenses/approval.

                            11.2.2 COMPANY shall be responsible for the following with respect to Radio Active source
                                   materials:

                                     (a) Transportation of Radio Active sources, stored in CONTRACTOR's shipping
                                         container, between COMPANY's Points of Mobilization and De-mobilization and
                                         COMPANY's supply base.

                                     (b) Transportation of Radio Active sources, stored in CONTRACTOR's shipping
                                         container, between COMPANY's supply base and the WORKSITE(s).

                                     (c) Provision of a secure designated area for the storage of CONTRACTOR's Radio
                                         Active storage container. The secure area shall include fencing and secure
                                         access.

                                     (d) Provision of security personnel, if required, at the designated Radio Active
                                         source storage area.




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                                       (e) Provision of assistance to CONTRACTOR for the application and approval of
                                           permits and licenses for the transportation, storage and use of Radio Active
                                           materials where requested by CONTRACTOR.


                        11.3 CONTRACTOR shall provide a tool make-up and testing service (pre-made BHAs). Drilling
                             tool modules shall be made up as agreed with COMPANY. Scope shall include, but not be
                             limited to make-up and break-out, function testing, hydraulic/gas testing, pressure testing,
                             inspection, storage and preparation for shipment. Modules shall be clearly identified by
                             stenciling unique ID and component serial numbers. Modules shall be loaded into shipping
                             baskets which, together with lifting slings and shackles, shall be fit for purpose and certified


                        11.4 Materials

                              CONTRACTOR shall store all drilling tools, equipment spares, etc (with the exception of
                              drilling modules due for shipment), under cover. Perishable items shall be stored according
                              to manufacturer's recommendations. All completion tools and equipment shall be provided
                              with appropriate protection.


                        11.5 Schedule

                              CONTRACTOR shall provide materials, equipment and services in order to take account of
                              COMPANY's drilling schedule and as amended and issued to CONTRACTOR from time to
                              time by COMPANY.


                        11.6 SERVICE LEVELS.

                             11.6.1   It shall be CONTRACTOR's responsibility to establish a level of servicing that shall be
                                      conducted within each specified SPU, for each technology, in order to support the
                                      levels of WORK detailed herein; whilst considering reliability of CONTRACTOR's
                                      different systems, R&M capabilities, and required competencies to ensure all tools
                                      operate to publicized specifications. All additional costs incurred to cater for remote
                                      servicing (transportation, customs, R&M costs etc.) shall be included in the pricing of
                                      each tool or service.

                             11.6.2 Prior to the EFFECTIVE DATE of the CONTRACT, service levels shall be mutually
                                    agreed between COMPANY and CONTRACTOR.


                 12.0 REPORTING AND RECORD KEEPING

                        12.1 CONTRACTOR will be responsible for the reporting of directional drilling and survey data,
                             ensuring BHA records are current etc. on COMPANY's "EDM/COMPASS" or other system to
                             be determined by COMPANY, in addition to fulfilling CONTRACTOR's own internal reporting
                             requirements.


                        12.2 CONTRACTOR should ensure that its personnel are familiar with the data requirements of
                             COMPANY during the WORK. Real time and memory data, both depth-based and time-
                             based shall be easily accessible for review. Output options and presentations must be
                             flexible to COMPANY requirements. Hard and digital copies in various formats shall be
                             required.




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                        12.3 CONTRACTOR is required to provide COMPANY with timely information on request.
                             Running the tools successfully should not be the only CONTRACTOR focus on the
                             WORKSITE. This alone does not meet COMPANY requirements.


                        12.4 CONTRACTOR personnel at the well site shall maintain a daily diary in digital form. This
                             shall capture not only a summary of the day's activity but any problems, recommendations,
                             and critical comments covering any and all aspects of the drilling activity and its
                             management. The intention is to capture this information as it happens and use it in hole
                             section reviews and lessons learned sessions, post well. CONTRACTOR personnel shall
                             contribute to this as often as practicable but as a minimum it shall be updated every day.
                             Subjectivity is encouraged and will be treated in a positive manner.


                        12.5 On completion of well operations, CONTRACTOR will prepare an End of Well Report
                             (EOWR) in line with the requirements of COMPANY REPRESENTATIVE, This shall be
                             completed within 30 days of reaching TD of each well or hole section. The end of well report
                             shall contain:

                                     (a) Run by run detailed synopsis by service,

                                     (b) BHA description and operational variables.

                                     (c) Details of lessons learned and recommendations for continuous performance
                                         improvement.

                                     (d) A complete reconciled cost close out on the well

                                     (e) Tracking, reporting and benchmarking of COMPANY's Directional Drilling
                                         Performance Measures.


                        12.6 Any additional engineering service provided by CONTRACTOR (such as Drilling
                             Optimization, Pore Pressure Management, NOS) shall be summarized in an additional or
                             integrated End of Well report, with supporting logs where appropriate.


                        12.7 The format ofthe end of well report shall be approved by COMPANY Representative.

                        12.8 All digital data from the well shall be stored securely by CONTRACTOR for a one (1) year
                             period after termination of the CONTRACT. COMPANY shall be notified prior to its
                             destruction after the end of this period.


                        12.9 On completion of well operations, CONTRACTOR shall operate a post-analysis review of
                             well performance so that lessons learned are fed back into the plans for the next well. The
                             details of this review will be jOintly agreed upon with COMPANY. The data to be reviewed
                             will include but not be limited to:

                                 Mud logging and associated reports
                                 COMPANY "EDM/COMPASS' or other system to be determined by COMPANY -
                                 compatible directional drilling report




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                                  Special Note: For long term archival purposes, the survey data and QA/QC sheets for the
                                  constituent parts of the definitive survey will be employed as the data to be reviewed


                        12.10 CONTRACTOR is required to submit the following reports

                              CONTRACTOR Reporting Requirements

                                                                                         FREQUENCY
                                Invoice of WORK                                          Monthly/By Well
                                Daily Digital Diary (maintain and submit as requested)   Update Daily
                                Itemized Cost for WORK by Product Line                   Per well
                                Safety Reports                                           Monthly
                                Performance Standards                                    Quarterly
                                Performance Measures                                     Quarterly
                                Performance Score Cards, if required                     Per Well or Batch
                                Summary of Inspection Reports and findings               Monthly
                                Failure Analysis / problem                               as required
                                End of Well Reports Directional                          Per well
                                End of Well Tool Utilization                             Per well/month
                                Definite Survey                                          Per well
                                Project / Study reports                                  as required

                              The content, style and structure of the above reports shall be agreed between COMPANY
                              REPRESENTATIVE and CONTRACTOR REPRESENTATIVE.


                        12.11 For the Performance Standards and Measures reports, they will be for CONTRACTOR's
                              operation as a whole and not on well by well basis. The report shall include both the month's
                              performance and a cumulative aggregated performance.


                        12.12 Inspection and Failure/Problem analysis reports shall be discussed and agreed on an
                              individual basis by COMPANY and CONTRACTOR. CONTRACTOR must provide full
                              details on problems and issues in order to ensure capture of lessons learned and continuous
                              improvement.

                        12.13 Project / Study Reports shall be undertaken as necessary following identification of the
                              issues from the above reports. Such projects/studies shall have an agreed Scope of Work,
                              objective and deliverable prior to commencement. This type of work shall be part of
                              CONTRACTOR's commitment to improve performance and will be undertaken at no cost to
                              COMPANY.

                        12.141n addition to job reports CONTRACTOR is requested to supply to COMPANY on a monthly
                              basis a summary of jobs performed. The summary is to be delivered to COMPANY's
                              REPRESENTATIVE by the third working day of the following month. The format is to be
                              agreed with COMPANY's REPRESENTATIVE but shall include the following information for
                              each job performed within the month.

                                      •   Well name/Slot number
                                      •   AFE number
                                      •   Hole section/Casing I Liner - size
                                      •   Service provided




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                                      •   Itemized Cost (excluding tax)


                        12.15 CONTRACTOR will produce as part of the End Of Well Dataset five (5) hardcopies of final
                              logs and reports (scales and TVD/MD requirements to be dictated by sub-surface
                              requirements) , and two (2) ASCII lLAS and EOWR Datasets (including yet not limited to all
                              Reporting Requirements items listed in Table Rep.1) on DVD.


                        12.16 Each SPU reserves the right to reduce the amount of reports or logs as required.         Any
                              additional logs will be as per Appendix 3 and/or Appendix 4.


                        12.17 All End of Well logs must be fully environmentally corrected with tool calibration files
                              attached. The entire well must be spliced on a composite log including spliced repeat
                              sections and include details of the splice points when logs from subsequent runs are joined,
                              on the header. Separate I individual runs printed on one log scroll are not acceptable. These
                              logs will follow the formats specified in the BOD document.


                        12.18 Should any post well processing be required (for example sonic, SMWD etc) this will be
                              conducted prior to the splicing of the final composite logs or EOWR data sets.


                        12.19 All End of Well Logs will be approved by COMPANY Geophysicist prior to submission as the
                              final data set.


                        12.20 CONTRACTOR shall be responsible to ensure that all logs are depth matched to the
                              reference log. GR and Resistivity from the MWD/LWD will be the depth reference log.


                        12.21 Mud Logging Reporting

                             All reporting should be in electronic format where possible.

                                      (a) Daily copy of FEL at 1 :500 scale and PEL at 1 :2000 scale, correct to 06:00 hrs
                                          and covering a minimum of the previous 24 hour period. The log scales and
                                          symbols used shall conform to COMPANY standard 'Formation Evaluation Log'.

                                      (b) Preparation of a Daily Geological Report (in the absence of COMPANY Well Site
                                          Geologist) to COMPANY standard format.

                                      (c) Preparation and posting of Daily Drilling Data files containing the last 24 hrs
                                          drilling data and gas data.

                                      (d) The 'Mud logging End of Well Report' shall be issued in ring binders with stiff
                                          cover. Diagrams and plots should be in color and letter size. Two unbound draft
                                          copies of the report complete with logs and data on CD are to be sent to
                                          COMPANY Operations Geologist, within two weeks of the end of well.

                        12.22 Meetings

                             12.22.1 There will be a formal Quarterly Performance Review (QPR) meeting, with minutes
                                     produced, which will take place quarterly. The purpose of the meeting will principally



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                                      be to discuss general performance, contractual issues and areas for improvement,
                                      and any other issues raised as may be agreed between the PARTIES. The meeting
                                      will be recorded with minutes and actions to be agreed and signed off by both
                                      PARTIES. This meeting will discuss, as a minimum:

                                      •   Safety update and issues
                                      •   Operational Issues
                                      •   Technical! Engineering issues
                                      •   Performance issues
                                      •   Address any action arising from previous meetings or reports
                                      •   AOB

                            12.22.2 CONTRACTOR's personnel shall be required to attend a variety of meetings both in
                                    COMPANY office and at the WORKSITE. COMPANY encourages full, effective,
                                    open, honest, proactive participation in aU meetings and encourages CONTRACTOR
                                    personnel to share this goal.

                            12.22.3 CONTRACTOR personnel shall lead briefings ahead of well and hole sections to
                                    introduce new technology tools/equipment to all rig site personnel. They shall ensure
                                    that literature is available to familiarize involved rig floor personnel with any handling
                                    issues or hazards associated with the tools/equipment. CONTRACTOR personnel
                                    are also encouraged to lead safety meetings on the rig site as well.


                 13.0 SUPPLIER PERFORMANCE MANAGEMENT

                        13.1 The intent of the CONTRACT is for CONTRACTOR to deliver upper quartile performance
                             and continuous improvement throughout the CONTRACT term.


                        13.2 On a quarterly basis CONTRACTOR shall present QPR data mutually agreed upon, detailing
                             overall performance using Drilling and Completions SPM metrics.


                        13.3 CONTRACTOR will be requested to participate in regionally or globally held Performance
                             Reviews at regular interviews to be defined by COMPANY.


                        13.4 CONTRACTOR will track the Key Performance Indicators detailed below, which have been
                             collated in the D&C SPM system as outlined in Appendix 1 Supplier Performance
                             Management, unless COMPANY proposes an alternative system or rationalized data set:


                               General Details                NUMSER OF SCORE CARDS
                               HSE                            TRIIF PER 200K MANHRS
                                                              PROACTIVE SAFETY INPUT PER 200K
                               HSE
                                                              MANHRS
                                                              ACTUAL VS PLANNED COST (W! SCOPE
                               Cost
                                                              CHANGE)
                               Cost                           ACTUAL COST PER 10K FT
                               Cost                           NPC COST PER 10K FT
                               Cost                           LlH COST PER 10K FT
                               Cost                           TOTAL ACTUAL COST OF SERVICE




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                                                                                           .....   ..
                               General. Details           . NUMBER OF SCORE CARDS
                               Efficiency                   TRIPS FOR FAILURE PER 10K FT
                               Efficiency                   % DRILLING TIME PER CIRCULATING HOURS
                               Efficiency                   NPT VS BELOW ROTARY TIME
                               Efficiency                   REAL TIME LOGGING EFFICIENCY
                               Efficiency                   RECORDED TIME LOGGING EFFICIENCY
                               Efficiency                   FOOTAGE PER DRILLING HOUR (ROP)
                               Efficiency                   % SUCCESSFUL RUN RATE (FAILURE FREE)
                               Quality                      WELL SPECIFIC OBJECTIVE MET I SET RATIO
                               Quality                      GLOBAL OBJECTIVES MET I SET RATIO
                               Incremental Benefit
                                                            IBD PER ACTUAL INVOICE COST
                               Delivered


                        13.5 The performance criteria shall be monitored whether CONTRACTOR has WORKSITE
                             representation or is providing engineering support from elsewhere. CONTRACTOR shall
                             provide a plan on the EFFECTIVE DATE of the CONTRACT or initial mobilization, which ever
                             is the earliest date, to monitor the achievement of these objectives.

                        13.6 CONTRACTOR shall document operations in the Well Placement Score Card detailed below,
                             unless an SPU defines an alternative card or condensed system:




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                  • Number of HSE relall'ld maragemer,l rig visits
                  * Number of Ilropped obleCls, ncicents




                                                RecordedSatetY'Observaiionse.g:STOpcilrds
                                               Safely Observations and Conversations (SOC's) I Safety TOUfS

                   Tolal Mannours,
                   Days Away From WorK Injuries
                  • Recordable In,juries and Illnesses
                  • First Aid Cases
                  • Number of aCCidental, uncontail'ed           spills or discharge




                  • Planned Cos! of ServiceSIM'MJil 'l1li)1



                   Planned Cos! of Services IR01ll




                  • Aclu.1 C""I "f Service.


                  ~ Actual Cost of Services




                   Lost or Left ill Hole Costs IOll""tJOOllA Ch~"111




                  • Loot or Left in Hole Cosis (RSSt




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                                                                                                        1Jf_:~~~~1 ~_j!~~r.~!fd !         MWD,ILwn            "ss
                      Falied Runs
                                                                                                                                                              "':;$

                                                                                                        ~ir!~ti~~i O_l"!~li~1i
                                                                                                                                      ,   MWO/LWD


                                                                                                        O!roctiorf,~1 DnH1n{J             MWOJLWO             RsS
                      Nl.lmbefof 0-25 hr(B R:THrs) Failures   of this piodm:1
                      Number of Tota~ Other -Failures
                                                                                                        ,?_ire:ctlooal Dri'.f~'m.!J       MWOiLWO             R""
                  . No of Me'll"r, Measurements ;MII'O'I.'#t'1
                 l'   No_ 01 Rea~ Tl'Tle MeasllJrements !M,NOitWDj
                  , No of pSI lesls attempted jMWDI'.'WDj
                      No ot PSI tests ohlamed IM\"tJ1LWLlj




                                       2
                                       3
                                       .
                                       5
                                       I>



                                                                                                                                Objecti"e            Explanation lor
                                                                                                                             Successfully            non-delivery of
                                                                                                                              Delivered?              ....Ob.lecti".e
                 PeTsor1l1';1 meetBPconipetenCyrequir",nelils, and are pro",cUvebath
                 onshore alld offshore                                                              No
                 No Unplanned Shul Ins or Close Ap;>fo"ch Violations for equipmenl or              Ye.
                 service reasons                                                                    No
                 No Unplanned Side·tracks for equipm""1 Of service reaSOns       I""a              Yes
                 'result of equipmentl product line Of service)~                                    No
                 No Stuck Pipe Incidents (as" resull of equipment, product li...e or               Yes
                 service).                                                                         No
                 No bacl< offs, twist off" or fa!;9"" related failures; in supplie<                Yes
                 equipment.                                                                        No
                 No los' BHA'", or components (as" result ot .. quipmenl, product fine             Yes
                 Of "ervice)                                                                        No
                                                                                                   YB'S
                 No Trips as a result af Surface or subsurface BHA sysl,em failures,
                                                                                                    No
                 NQ surface equipment or BHA component or system failures                          Yes
                 (r"'gardl",,,,,, Qf caus",), whie" interrupted the seMc" li,e, redundancy
                 was inade'l!""!").                                                                 N"
                 AI least one complete set of funclional backup eqlllpment at the rig site
                                                                                                   Yes
                 for each SHA component il~ the hole and required for next run, ISee
                 clarifications,)                                                                   No
                 Intersected all TargelS as planned within agreed tolerance» (inclusive            Yes
                 of ""g points, rJuid or g"s contacls,. zones; of inlerest, geological
                 markeTS etel. O'id not exceed OLS limits, Tortuosity limlfts                       No
                 Did riot ex<:eed operatillglimits 01 tools (mtentionally of                       Yes
                 Unintentionally),                                                                 No
                 logged & Drilled sl10e to shoe withQut service interruption, delay, or            Yes
                 tailure-.                                                                          No
                 Reported 100·", of "II faitures, service 'nteruptions, delays 8.
                                                                                                   Ye's
                 '''Iuipment I,,,,n conformance" , ..yardl"s,; of severily I""el I,,,,
                 catastrophic, SEvere, critical, major, minor.




                                                                                          Objectille                                              Explanation lor       ,
                                                                                         Compulsory                                           non-dellvery of Obj,,"ti"~
                 Deliv,,,,,d ·100%01 "II data within agr""d time 'mlie.jSpecitY              Yes ....
                 data distribution requiremnts; I/. tirllings)                               No
                 100% of all Data        Tracable (Environmental Com.clions, T"",I           Yes
                 Numbers. Software        Key Constants. Variables & FIIt,,,,ing
                 Identified)
                                                                                             No




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                                                                                        Yes     No
                  100% Match between Real Time and Recorded Data
                                                                                        No
                  No repeat logging runs required to aquire poor, los!, or missing      Yes
                  dala.                                                                 No




                  ho,Ie              1'60                hole section)
                  Reached planned TVD, departure and measured depth for each
                                                                                        Y"$
                  BHA nm and each hole section.(Specify Dep, TYD, MD &
                  Tolerances ..,.)                                                      No
                                                                                        Yes     No
                  STRETCH: Optimum target (1'1:0) drilling curve achi..ved.
                                                                                        No




                                                                                                     for


                                       1'50 hours         hole section)
                  Reached planlled TVD, departure and measured deplh tor each
                                                                                        Yes     Nc
                  BHA run and each hoi.. "ecUon.(Specily Dep, TVD, MD &
                  Tolerances +',}                                                       No
                                                                                        Yes
                  STRETCH: Optimum target (P10) drilling curve achi..ved.
                                                                                        No




                        Approximate value of Incremental benefit
                                       delivered




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                                                          D. Wireline Services

                  1.0    GENERAL SERVICE REQUIREMENTS

                        1.1   CONTRACTOR shall provide twenty-four (24) hour Wireline services (Open Hole, Cased
                              Hole, and Perforating) in accordance with the terms and conditions detailed within this
                              Appendix 5 and the Statement of Requirements found in Section 4, Appendix 3, and in a safe
                              and cost effective manner as detailed herein comprising, but not limited to, the provision of all
                              necessary rig site management. support and engineering expertise, office and rig site
                              personnel, equipment, tools, spare parts, consumables and other items necessary or
                              required for the satisfactory performance of the WORK described herein during COMPANY's
                              exploration and development drilling and production operations.


                        1.2   In the event COMPANY elects under the provisions of Section 4 (Remuneration), to pay a
                              monthly minimum guaranteed rate per surface equipment spread (logging unit and
                              associated equipment), all tools, services, consumables, and expendables contribute to the
                              monthly minimum rate with no exclusions. Operations by these units in excess of the
                              guaranteed monthly minimum will be charged in accordance with the Schedule of Rates and
                              Charges.


                        1.3   It is agreed and understood by the PARTIES that COMPANY may adjust the total fleet of
                              WIRELINE exclusive equipment and associated personnel provided to perform the WORK by
                              providing CONTRACTOR thirty (30) days written notice, in the form of a Change Order
                              hereunder. CONTRACTOR shall adjust its fleet of equipment provided to COMPANY within
                              thirty (30) days from the issuance date of the Change Order or such later date specified by
                              COMPANY.


                        1.4   The provision, utilization and management of the services shall be the sole responsibility of
                              CONTRACTOR always accepting that CONTRACTOR must meet the requirements of this
                              CONTRACT. Each service shall be provided in accordance with the service specific
                              statement of technical requirements stated hereunder.


                        1.5   CONTRACTOR shall work together with COMPANY, and with other contractors from the first
                              stages of well planning through finalization of well reports and performance evaluation.
                              COMPANY's operations are conducted utilizing Beyond the Best principles, and a strongly
                              process-focused approach to well planning, design, execution, evaluation, and re-design.
                              CONTRACTOR is expected to work with COMPANY and other contractors performing well
                              services for COMPANY within this framework.


                        1.6   CONTRACTOR performance with respect to total cost, project cycle time, and well rates are
                              critical to achieving COMPANY objectives.   Performance of CONTRACTOR will be
                              measured, and intervened upon as necessary, utilizing score cards developed mutually
                              between COMPANY and CONTRACTOR.


                        1.7   CONTRACTOR may be required to co-operate and work closely with other service providers
                              during provision of the WORK. In particular this may include working with the providers of
                              Logging-While-Drilling and Mudlogging services.



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                 2.0    PERSONNEL

                        2.1   CONTRACTOR shall provide fully trained, competent personnel to perform the services in
                              accordance with the Scope of Work. The number and location of personnel required will be
                              determined by operational and engineering need as agreed by COMPANY and
                              CONTRACTOR. To ensure continuity and operational learning(s), personnel assigned to a
                              drilling unit shall not be replaced without COMPANY's written agreement.

                        2.2   Personnel are required to be capable of operating, testing, troubleshooting and repairing all
                              CONTRACTOR equipment as required.


                        2.3   In support of this role, the Account Manager, referenced in Section 3, Clause 3.3 shall be
                              responsible for setting up an engineering planning process for COMPANY that is compatible
                              with COMPANY's system. This shall include documents to be produced for the WORK and
                              individual wells, information required to prepare the documentation and a 'Responsible,
                              Accountable. Consult and Infonm' (RACI) chart for the process.


                        2.4   The Account Manager shall also ensure that all produced documentation pertaining to
                              COMPANY comes under a document control system where signatory authorities shall be
                              described through the RACI process. Electronic copies of all documentation shall be
                              required, copies of which must be logged within COMPANY system.


                        2.5   CONTRACTOR, as directed by COMPANY to meet operational requirements, will make
                              available a suitable number of Wireline Office Engineers, including In-house Engineers, who
                              will become familiar with COMPANY operations so as to provide effective support and
                              coordination for the WORK, ensure efficiency and consistency in process, and if so directed
                              by COMPANY serve as a single point of contact for the Asset Team, Rotary Teams, Coiled
                              Tubing Drilling Team, as well as Workover and Wells Teams. Their minimum responsibilities
                              will be performing or participating in providing:

                              •    Planning and generation of well-specific and project logging programs with
                                   COMPANY's subsurface representative to ensure COMPANY's WORK objectives are
                                   realized, efficiently and safely
                              •    Technology resources for advanced logging and perforating applications
                              •    Operational co-ordination between COMPANY's local offices and well site
                              •    Project planning and scheduling meetings
                              •    Process re-engineering, technical limits evaluations, beyond best technical practices,
                                   knowledge management, risk assessments, and cost and efficiency benefit analysis,
                                   etc.
                              •    Project / well evaluations and reporting
                              •    Support for CONTRACTOR invoice and field service report reconciliation issues as
                                   may be required by COMPANY
                              •    Real-time transmission applications in COMPANY's office
                              •    Support and training material for COMPANY staff as required
                              •    Technology leadership for advanced wireline logging and perforating applications
                              •    Cost and time estimates for the WORK as required by COMPANY
                              •    Assurance that the cost estimates are not exceeded during performance of the WORK
                              •    Other logging and Perforating support as required




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                        2.6   Data and Data Transmission Requirements will unless otherwise advised by COMPANY
                              provide:

                              •     Preliminary hard copy plots at well site
                              •     Multiple final hard copy plots
                              •     Well site CO I OVO I floppy log presentation curves (LAS I DLlS)
                              •     Preliminary and final Log Plots in digital format (POS I CGM) to data servers or Intranet
                                    I secure internet
                              •     Final Log Plots in digital format (POS I CGM) to data servers
                              •     Provide real time data.
                              •     At the end of all Jobs, Wells, and individual hole sections CONTRACTOR shall provide
                                    COMPANY OVOs I COs and other acceptable formats as agreed by the PARTIES,
                                    including all data files (repeats, main logs) in appropriate format (XTF I LAS I DLlS)
                                    and all digital log plots (POS f CGM)


                        2.7   CONTRACTOR may provide Wireline and I or petrophysical analytical services to support
                              COMPANY operations which shall include, but not be limited to:

                              •     Processing of digital wireline log data
                              •     Oata re-processing
                              •     Specialist log analysis
                              •     Interpretative studies
                              •     Recommendations for special data acquisition
                              •     Access to new or developing technology


                        2.8   Drilling Unit and f or Well Site wireline personnel will be required to provide the following
                              services, including but not limited to:

                              •     Participation in STOP program and lor other safety behavior programs
                              •     Early involvement in planning meetings and interaction with rig crew to ensure sheave
                                    pOints and rig up details have been discussed and risk assessed prior to jobs.
                              •     Caliper I gauge all equipment that goes in the well
                              •     Supply COMPANY on-site representative with tool string diagrams prior to running in
                                    the well and caliper fishing neck I tool body.
                              •     Fishing procedure and logging while fishing program
                              •     Table of Risks and Mitigations
                              •     Applying industry Best Practices, lessons learned, knowledge and experience, and be
                                    responsible for pushing back and questioning rig I well procedures as appropriate.


                        2.9   As required, CONTRACTOR shall ensure all boom truck I crane I mast crews have a
                              minimum of two fully trained and experienced ABC ticketed / certified crane operators on the
                              WORKSITE at all times during the execution of the WORK.


                        2.10 As required, CONTRACTOR shall ensure all crews have valid advanced heavy equipment
                             driver training certificate, and current D.O.T. license type, CDL suitable for the vehicles. This
                             requirement also includes, as a prerequisite for ALL crews, a full array of light vehicle training
                             courses including but not limited to journey management, Arctic driving familiarization and
                             coaching, defensive driver training, skid pan and simulator training etc. All driver training




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                               records are subject to systematic refresher courses and may be audited by COMPANY from
                               time to time.


                        2.11   Individual Asset Teams may require that the Wireline Office Engineer be co-located with the
                               Performance Unit. Depending on the amount of WORK awarded to CONTRACTOR, and the
                               number of Engineers co-located with COMPANY, COMPANY may require the appointment of
                               a CONTRACTOR Coordinator.


                        2.12 COMPANY requires that Wireline Office Engineers serve tours of duty with COMPANY of no
                             less than two years duration. COMPANY will review the qualifications of and approve the
                             placement of such individuals. COMPANY reserves the right to demand replacement of any
                             such engineer or analyst based on inadequate performance, capabilities, or compliance with
                             COMPANY policies and procedures.


                        2.13 CONTRACTOR shall provide units capable of performing services that cover the following
                             work activities, including but not limited to:

                               •     Open Hole logging (real time Wireline and / or memory)
                               •     Cased Hole logging (real time Wireline and / or memory)
                               •     Perforating and mechanical services (real time Wireline and or memory j E-fire)
                               •     Wireline hoisting services
                               •     Logging data services (Pre job, real time and Post job support)


                        2.14 From time to time, CONTRACTOR will be required to provide technically competent and
                             experienced technical personnel and research support for CONTRACTOR awarded WORK
                             on COMPANY projects.


                 3.0    EQUIPMENT

                        3.1    CONTRACTOR shall provide all equipment required to perform the WORK, as required by
                               COMPANY's programs and ensure that safety, efficiency and quality is not compromised.


                        3.2    Equipment and services provided by CONTRACTOR to meet COMPANY's statements of
                               requirements shall be fit for purpose, and will include all equipment necessary for providing
                               the following services which shall include, but is not limited to:

                               •     Open Hole logging of newly drilled wells to determine formation properties
                               •     Cased Hole logging of wells to determine formation properties
                               •     Cased Hole gamma ray correlation logs
                               •     Pressure and fluid sampling in Open Hole and Cased Hole
                               •     Cement bond f quality logs
                               •     Casing inspection logs
                               •     Casing and pipe recovery services
                               •     Production logs
                               •     Perforating casing, drill pipe, orwork strings
                               •     Setting plugs, packers, inflatable tools, whipstocks, and bridge plugs
                               •     Pressure and temperature recording
                               •     Hoisting services



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                              •       Tractor conveyance
                              •       All of the above work in slim hole, HPHT and Memory environments when necessary



                        3.3   Individual Performance Unit assets may have specific equipment requirements to service the
                              CONTRACT.


                        3.4   COMPANY shall have the right to inspect and audit CONTRACTOR's equipment, materials
                              and supplies at any time to observe their condition and to ensure that no deficiencies exist
                              therein. Such inspection by COMPANY shall not imply any acceptance of the condition of
                              the said equipment, materials and supplies by COMPANY and CONTRACTOR shall not be
                              relieved of its obligations under this CONTRACT by any such inspection.


                        3.5   In concert with Appendix 1, Clause 2.2 and Clause 5.3 herein below this Appendix 5, prior to
                              running logs, mutually approved evaluation objectives between COMPANY and
                              CONTRACTOR will be completed for each hole section or Cased Hole log I perforating run
                              which identifies log suite quality, depth for logs, targeted evaluation zone, agreed footage for
                              perforating intervals.


                        3.6   CONTRACTOR shall be required to identify and communicate in writing fishing contingencies
                              for all down-hole equipment used to perform the WORK prior to running in hole.
                              CONTRACTOR shall maintain knowledge and availability of appropriate fishing tools and
                              techniques for CONTRACTOR's equipment. A complete record of down-hole equipment with
                              callipered dimensions is required for each run in hole. COMPANY may require appropriate
                              fishing tools onsite for remote operations. For normal operations, fishing tools will be
                              provided from CONTRACTOR's base as required. CONTRACTOR shall provide onsite
                              support and supervision for all fishing operations that involve higher risk tools, such as by
                              non-limiting example, tools that may contain one or more radioactive sources, explosives and
                              other dangerous goods.


                        3.7   CONTRACT tools and contingency equipment shall be available for all WORK at
                              COMPANY's Well Site, except as otherwise specified by COMPANY.


                        3.8   COMPANY reserves the right, in its reasonable discretion, to specify the electric line cable
                              size, type and manufacturer, and any other enabling technologies as may be required from
                              time to time. By mutual agreement with COMPANY, CONTRACTOR will use and maintain
                              said equipment and or enabling technologies for the WORK.


                 4.0    QUALITY ASSURANCE

                        4.1   CONTRACTOR may be required to submit a QA/QC plan for the equipmenUservices
                              furnished to COMPANY for review and approval. This QA/QC plan shall be tailored after a
                              recognized quality standard such as API-Q1, ISO 9001, MIL-Q9858A or equivalent. Upon
                              approval by COMPANY, this QA I QC plan shall be made a part of this CONTRACT and shall
                              apply not only to CONTRACTOR's activities, but also to those of any SUBCONTRACTORs.
                              The QA I QC plan shall, at a minimum, include:

                              4.1.1     Detailed description of the stages of performance of a service, or manufacture of



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                                      equipment components and final product.

                              4.1.2   Location of service to be provided, sources of materials and equipment, and
                                      manufacture, inspection, assembly, testing and storage of any purchased equipment.

                              4.1.3   A matrix that shall list the full description of the individual services, products, and
                                      equipment utilized in conducting required services, or of individual components and
                                      assembly of purchased equipment, along with the documentation, traceability,
                                      testing, inspection and process that shall be performed by CONTRACTOR or his
                                      agents. This matrix shall be utilized by COMPANY to list any COMPANY required
                                      inspections, standards and testing in addition to COMPANY's witness, review,
                                      traceability and documentation requirements.

                              4.1.4   Provisions for COMPANY to review and approve CONTRACTOR's and
                                      SUBCONTRACTOR's QAlQC plans, processes, procedures, documentation,
                                      drawings, materials, parts lists and non-conformance deviation reports.

                              4.1.5   The accepted QAlQC plan shall contain certain inspections and manufacturing
                                      processes which COMPANY mayor may not witness, verify or review. This does not
                                      absolve CONTRACTOR from performing any and all tests, inspections, equipment
                                      calibrations or dimensional measurements that are required in CONTRACTOR's
                                      approved QA I QC plan.

                              4.1.6   COMPANY reserves the right to conduct any and all tests and any other inspection
                                      deemed necessary by COMPANY at COMPANY's sole expense.

                              4.1.7   CONTRACTOR shall afford COMPANY reasonable access to:

                                      (a)   Perform audits

                                      (b)   Perform relevant inspections

                                      (c)   Review all QA/QC records and documents


                        4.2   These QA/QC plans will be agreed to by COMPANY and CONTRACTOR at a later date.
                              Any commercial issues arising out of any additional testing, inspections, traceability,
                              documentation or dimensional requirements that COMPANY may require will be agreed to at
                              that time between COMPANY and CONTRACTOR and the CONTRACT will be amended to
                              include that agreement.


                 5.0    ENGINEERING SERVICES

                        5.1   CONTRACTOR shall pro-actively monitor, evaluate and promote the use of new technology
                              to improve cost effectiveness and add value through the application of technology.
                              COMPANY is committed to making its knowledge of best practice available to
                              CONTRACTOR. It is expected that CONTRACTOR will avail itself of the opportunity to use
                              COMPANY's data and knowledge in the course of its work. Likewise, it is expected that
                              CONTRACTOR will provide to COMPANY its knowledge of industry best practices and
                              technology.

                        5.2   CONTRACTOR shall commit to utilizing the necessary quality and performance improvement
                              systems to provide full traceability of its engineering work, provide assurance that
                              engineering designs were accurate and were followed, and improve performance of all




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                              aspects of CONTRACTOR services.


                        5.3   In concert with Appendix 1, Clause 2.2 and Clause 3.5 herein above this Appendix 5, prior to
                              performing each operation, CONTRACTOR shall provide, at the request of COMPANY, a
                              complete well specific engineering proposal for requested services, complete with cost
                              estimate. This proposal should include:

                              5.3.1   Consideration that COMPANY reserves the right to conduct any and all tests and any
                                      other inspection deemed necessary by COMPANY at COMPANY's sole expense.

                              5.3.2   Wireline logging tools to be run

                              5.3.3   Stacked tool combinations

                              5.3.4   Depth intervals to be logged

                              5.3.5   Conveyance methods (i.e., capstan, appropriate strength cable, weak-point)

                              5.3.6   Tension analysis for each run

                              5.3.7   Load out sheet containing item description, weight, size and safety issues, most
                                      recent inspection date, and responsible party with telephone numbers for each item,
                                      with all Third Party items clearly marked.

                              5.3.8   Detailed job cost estimate, and if applicable data service charges.



                        5.4   After well operations are completed, CONTRACTOR, at request of COMPANY, shall conduct
                              a formal post-analysis review of operational performance so that lessons learned are fed
                              back into the plans for the next well. The format of the report will be determined by
                              COMPANY and CONTRACTOR. Where applicable, all relevant COMPANY specialists,
                              technologies and facilities shall be made available to CONTRACTOR to facilitate this
                              process. Such assistance shall be provided at the sole discretion of COMPANY but shall not
                              be unreasonably withheld.


                        5.5   CONTRACTOR shall contribute to the process of daily reporting on COMPANY's information
                              system installed at the WORKSITE or field office location.


                        5.6   CONTRACTOR will be required to conduct pre-studies to evaluate acquisition parameters for
                              the NMR, seismic and other advanced I non-standard tools as required including but not
                              limited to slim hole and HPHT environments.


                        5.7   CONTRACTOR shall store all original logging data for five (5) years.


                        5.8   All Open Hole and Cased Hole unit charges include presentation, interpretation and
                              deliverables in accordance with COMPANY's requirements.


                        5.9   \Alireline Open Hole and Cased Hole unit rates for WORK as set forth in Appendix 3 and/or




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                              Appendix 4 include all standard data services and post processing required for the
                              generation and shipping of final prints, films, tapes and disks as listed below, or in
                              accordance with COMPANY's procedures and J or requirements. The WORKSITE and final
                              product deliverables will be specified by each SPU.

                              •    Digital disks (CD, DVD or other) will be made available immediately after the Job (or
                                   run in hole) for field deliverables.
                              •    If applicable, LDWG logs, which shall include depth shifting, clipping, compositing, as
                                   required for AOGCC compliance
                              •    Tapes I Disks
                              •    Electronic data transfers
                              •    Black and white prints
                              •    Film and sepia if applicable
                              •    Color prints and associated field playbacks will be provided for all services.


                        5.10 All Well Site logging units shall have real time data transmission and remote witnessing
                             capability as required by COMPANY, which shall be for CONTRACTOR's account. Finalized
                             logging products shall be delivered on a timetable that meets or exceeds the SPU internal
                             and partner requirements, which is expected to vary depending on job complexity and well
                             site location, etc.


                 6.0    MANAGEMENT SYSTEMS AND OTHER REQUIREMENTS

                        6.1   CONTRACTOR must have in place or implement and demonstrate compliance in all of the
                              systems noted below:

                              •    BP Environmental Management System (EMS)
                              •    Preventative Maintenance Systems for all mechanical equipment
                              •    Staff Development and Deployment System for COMPANY Operations
                              •    Personnel Competency Assessment System for COMPANY Operations
                              •    Organizational Learning System


                        6.2   CONTRACTOR shall manage its operations in accordance with the principles outlined in
                              COMPANY "Getting HSE Right" document and comply with various Performance Unit and
                              COMPANY defined Safe Practices Guidelines and Safety Policies.


                        6.3   COMPANY also requires CONTRACTOR to maintain up-to-date training records for their
                              employees and make the records available for review at COMPANY's request.         All
                              CONTRACTOR personnel should be trained to the standards required by law as a minimum
                              or to some other standard as may be required by COMPANY.


                        6.4   Should CONTRACTOR fail to achieve the required competencies within the agreed
                              timescale, CONTRACTOR shall be deemed to be in default of the CONTRACT, and
                              COMPANY shall have the right to terminate the CONTRACT at its sole discretion under the
                              terms and conditions of Section 2 (General Conditions of Contract), Clause 23.1 (b).




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                 SPECIAL REQUIREMENTS FOR ANY WORK PERFORMED IN THE GULF OF MEXICO


                  1.0    EQUIPMENT

                        1.1   Cable working strength of up to 18,000 pounds is required on most wells in the deeper hole
                              sections.


                        1.2   Further to Section 3, Appendix 5, Clause 3.2, a CONTRACT cable of similar specification to
                              the primary cable is required at the WORKSITE. Cost should be included in the Base
                              Service Unit Rate.


                        1.3   A redundant surface acquisition system I electronics cab is required on location, with
                              umbilical capability to the primary logging I winch unit. Cost should be included in the Base
                              Service Unit Rate.




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                                                              E. Completions

                 1.0    GENERAL

                        1.1   As required by COMPANY, CONTRACTOR shall provide completion equipment and services
                              as detailed herein comprising but not limited to, the provision of all management, support
                              base, engineering expertise, office and rig personnel, equipment, tools, spare parts, and
                              consumables, necessary for the satisfactory performance of the WORK.


                        1.2   CONTRACTOR shall provide design, engineering, qualification, computer modeling, supply,
                              and installation of the equipment and services for COMPANY's operations, as detailed
                              herein. The equipment and services shall comprise, but not necessarily be limited to:

                              1.2.1    Provision and installation of completions equipment and services; see Section 3,
                                       Appendix 6 - Functional and Technical Specifications.

                              1.2.2    Provision of Completions Products, spare inventory, services, personnel and rental
                                       equipment; see Section 3, Appendix 6 - Functional and Technical Specifications.

                              1.2.3    Provision of Multi-Lateral Systems, Fishing, Whipstock, and Machine Shop services,
                                       personnel and rental equipment; see Section 3, Appendix 6 - Functional and
                                       Technical Specifications.

                              1.2.4    Provision of personnel and rental equipment, including installation and deployment of
                                       the lower completion equipment, sand screens, upper completion equipment,
                                       intelligent well equipment; DST I TCP services, and sand control pumping services.

                              1.2.5    Preparing completion programs and procedures, including cost estimates.

                              1.2.6    Coordination I Integration of Third Party services and equipment (e.g., nipple profiles,
                                       rentals, etc.).

                              1.2.7    Onshore facilities for storage, inspection, make-up, and testing of completion
                                       equipment.

                              1.2.8    Onshore facilities for staging, storage, maintenance of service equipment.

                              1.2.9    Tracking of all equipment through manufacture, transportation, delivery, storage, and
                                       installation in the well-bore.

                              1.2.10 Participation in technical limit, right scoping exercise, risk mitigation, and complete
                                     well on paper (CWOP) sessions.

                              1.2.11   Participation in integration and stack-up testing of CONTRACTOR equipment and
                                       Third Party completion equipment where required.


                        1.3   CONTRACTOR shall provide lower completion equipment and services to meet the
                              requirements of the Lower Completion Functional and Technical Specifications; see Section
                              3, Appendix 6 - Functional and Technical Specifications.




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                        1.4   CONTRACTOR shall provide upper completion equipment and services to meet the
                              requirements of the Upper Completion Functional and Technical Specifications; see Section
                              3, Appendix 6 - Functional and Technical Specifications.


                        1.5   CONTRACTOR shall provide sand control pumping equipment, consumables, and services
                              to meet the requirements of the Sand Control Pumping Functional and Technical
                              Specifications; see Section 3, Appendix 6 - Functional and Technical Specifications.


                        1.6   CONTRACTOR shall provide the TCP I DST equipment, consumables, and services to meet
                              the requirements of the TCP I DST Functional and Technical Specifications; see Section 3,
                              Appendix 6 - Functional and Technical Specifications.


                        1.7   CONTRACTOR shall provide the sand screen equipment and services to meet the
                              requirements of the Sand Screens Functional and Technical Specifications; see Section 3,
                              Appendix 6 - Functional and Technical Specifications.


                        1.8   CONTRACTOR shall provide the intelligent well (including downhole flow control (DHFC),
                              permanent monitoring, pressure I temperature gauges) equipment and services to meet the
                              requirements of the Intelligent Wells Functional and Technical Specifications; see Section 3,
                              Appendix 6 - Functional and Technical Specifications.


                 2.0    PERSONNEL AND ENGINEERING SUPPORT

                        2.1   CONTRACTOR shall provide engineering or technical support, which shall include but not be
                              limited to:

                              2.1.1   Working with COMPANY to finalize equipment technical specifications and
                                      qualification programs including Equipment Statement of Requirements (eSOR).

                              2.1.2   Selection of well specific completion equipment.

                              2.1.3   Sand control design (including OHGP, gravel packing, water packing, frac packing,
                                      etc.).

                              2.1.4   Analysis, assessment and documentation of critical well engineering parameters
                                      including, but not limited to: torque and drag; tubing movement; pump rates and
                                      pressures; packer performance envelopes, etc.

                              2.1.5   Optimization of completion operations through application of processes such as
                                      technical limit, right scoping exercises, risk management, Complete Well on Paper
                                      (CWOP) and application of industry best practices.

                              2.1.6   Verification of systems integration I compatibility of Third Party supplied equipment.

                              2.1.7   Work with COMPANY to develop programs, procedures and cost estimates for
                                      completion designs, equipment and services including Third Party equipment and
                                      services.

                              2.1.8   Coordination of CONTRACTOR personnel and equipment requirements for well
                                      completion operations.



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                              2.1.9    Produce post-well completion reports including job evaluation, time breakdowns,
                                       non-productive time analysis, recommendations for continual performance
                                       improvement; and "as-run" equipment tallies.

                              2.1.10 Investigating and reporting to COMPANY of any equipment or service failures during
                                     installation. Working with COMPANY to diagnose any post-installation failures,
                                     resolving issues and providing assurance plans for future avoidance of the failures.

                              2.1.11   Completion of COMPANY's Performance Management Score Card.

                              2.1.12 Ensuring the transfer of lessons learned and best practices from CONTRACTOR's
                                     on-going operations.

                              2.1.13 CONTRACTOR shall be responsible for ensuring that the technical interfaces
                                     between the upper completion and Third Party Contractors' equipment (e.g., DHFC,
                                     subsea, sand face completion, real time temperature profiling) and rig are
                                     coordinated and seamless.


                        2.2   CONTRACTOR shall provide technically competent and experienced personnel for the
                              delivery of technical and engineering support. CONTRACTOR shall propose candidates to
                              COMPANY by submission of a completed competency assessment model. (An example of a
                              completed competency assessment model I framework is provided for your review in
                              Attachment A).      COMPANY will provide competency assessment model, if required.
                              COMPANY may request evidence and verification of skills, experience, training, and
                              competencies including an on-site interview of the candidate. An on-site interview shall be at
                              CONTRACTOR's account. The competency assessment model will document, assess, and
                              evaluate four areas:

                              2.2.1          Experience;

                              2.2.2          Interpersonal;

                              2.2.3          HSSE;

                              2.2.4          Technical.


                        2.3   CONTRACTOR shall provide technically competent and experienced specialist personnel at
                              the WORKSITE for the installation and service of the WORK.

                              2.3.1    COMPANY designates the following personnel as key positions.           As required,
                                       COMPANY may deSignate other key positions.

                                       (a)    Account Manager

                                       (b)    Technical and Engineering Support personnel

                                       (c)    Upper Completion Specialist (including upper completion, DHFC, intelligent
                                              well, and permanent monitoring equipment)

                                       (d)     Sand Face Tool Specialist

                                       (e)    TCP I DST Tool Specialist



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                                      (f)   Pumping Supervisor

                                      (g)   Offshore Lab Technician (sand control services)

                                      (h)   Coordinator (single trip gravel pack systems)

                                      (i)   Project Coordinator


                              2.3.2   CONTRACTOR shall select personnel for key positions that are technically
                                      competent and highly experienced for the specific product line f service. This
                                      assessment shall be based primarily on the following:

                                      (a)   Actual job experience as the senior or lead tool or service specialist; and,

                                      (b)   Progression through CONTRACTOR's competency based training program.

                              2.3.3   COMPANY may request, on a per job basis, that CONTRACTOR submit a
                                      completed competency assessment (see example in Attachment A) that will verifiably
                                      demonstrate that the candidates proposed for key positions are technically
                                      competent and highly experienced.


                        2.4   CONTRACTOR personnel shall carry a documented record detailing the following items:
                              technical I operational training; experience; safety and environmental training; and specific
                              areas of competence (e.g., high pressure testing, operating down-hole tools).


                 3.0 POST CONTRACT AWARD

                        3.1   All proposed equipment may be subjected to a COMPANY specified design review process
                              (e.g., Detailed Design Review).

                        3.2   If requested by COMPANY, CONTRACTOR and ! or SUBCONTRACTORS shall
                              demonstrate the functionality of the integrated completion string(s) in a land based stack-up
                              test (e.g., gravel packing tool string with Fluid Loss Control Valve (FLCV) at expected pump
                              rates and conditions).


                        3.3   If requested by COMPANY, CONTRACTOR shall subject all proposed breaker systems,
                              stimulation, treating fluids, and gravel carrier fluids to a rigorous core flood formation damage
                              ! mud cake removal study.


                        3.4   If requested by COMPANY, CONTRACTOR shall generate a risk matrix for all aspects of the
                              completion operations and shall identify contingency measures for each (Le., contingency on
                              losing a pump, excessive fluid loss to the formation, early screen out, incorrect fluid viscosity,
                              sand bridge in workstring f cross-over tool, etc.).


                        3.5   In response to COMPANY equipment statement of requirements (eSOR), CONTRACTOR
                              shall provide a Certificate of Performance (COP) documentation package which shall
                              address and include, but not be limited to, the following elements:




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                              (a) Engineering narrative.

                              (b) Technical specification sheet.

                              (c) Bill of Material.

                              (d) Standard Operating Procedure I Installation Procedure.

                              (e) Equipment diagrams and drawings.

                              (f)   State of Stress Table (see example - Attachment B).

                              (g) Rated Performance Envelope.

                              (h) Equipment Performance Validation (see example - Attachment C).

                              (i)   Run history and reliability data.


                 4.0 RENTAL EQUIPMENT

                        4.1   CONTRACTOR shall provide all necessary tools and equipment to install and test the
                              equipment specified in Section 3, Appendix 6 - Functional and Technical Specifications.


                        4.2   COMPANY may designate the use of Third Party suppliers for the provision of equipment
                              and services specified herein, including but not limited to, pumping I treating iron, high
                              pressure hoses, wash pipe and associated handling tools, etc.


                 5.0 CONSUMABLE MATERIALS

                        5.1   CONTRACTOR shall provide or procure all necessary consumable materials to install and
                              test the equipment specified in Section 3, Appendix 6 - Functional and Technical
                              Specifications.


                        5.2   CONTACTOR shall ensure that all consumable materials are individually labeled or identified
                              so as to ensure verification of material content, shelf life, expiration date and traceability to
                              job lot or batch number.


                        5.3   CONTRACTOR shall be responsible for segregating and proper disposal of consumable
                              materials that have exceeded their shelf life or expiration date.


                 6.0 BACK-UP MATERIALS AND EQUIPMENT

                        6.1   CONTRACTOR shall make appropriate provision for back-up materials, equipment, spare
                              parts and tools to ensure the WORK is not disrupted due to equipment failures or other
                              problems associated with CONTRACTOR's equipment or service.


                        6.2   Back-up equipment shall include, but not be limited to, permanently installed equipment,
                              service tools, spares, and re-dress kits.



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                 7.0 TECHNICAL INTEGRITY

                        7.1   COMPANY's technical integrity assurance requirements for the WORK inclusive of quality
                              assurance, quality control, and design verification requirements are given in Section 3,
                              Appendix 7 - Technical Integrity. Quality control plans (QCPs) and I or Inspection and Test
                              Plans (ITPs) shall include, but not be limited to:

                              7.1.1   Manufacturing;

                              7.1.2   Service support facilities (shop or base) to include:

                                      (a) Rental equipment.

                                      (b) The inspection, preparation, assembly, test (function I pressure) and packaging
                                          for shipment of completion assemblies, service tools, and rental equipment.

                                      (c) Pre-job inspection and performance testing of powered and non-powered
                                          equipment (e.g., pumps).

                              7.1.3   On-site installation and service quality plans and procedures.

                              7.1.4   Post-job and end of well report.


                 8.0 FACILITIES, LOGISTICS, LABORATORY, AND TESTING

                        8.1   Onshore Base, Materials, and Logistics

                              8.1.1   CONTRACTOR shall maintain an onshore warehousing and service support facility.
                                      The services to be provided by CONTRACTOR shall include, but not be limited to,
                                      the preservation, storage, handling, preparation, and restocking of equipment and
                                      consumables.

                              8.1.2   CONTRACTOR shall be responsible for ensuring that competent CONTRACTOR
                                      supervision as well as technically competent and experienced personnel are present:

                                          (a) When shipping or taking receipt of COMPANY materials and equipment at
                                              CONTRACTOR premises.

                                          (b) For the inspection, assembly I disassembly of equipment, make-up of
                                              assemblies, functional testing, etc.

                                          (c) For the development of shop quality control plans and I or inspection and test
                                              plans.

                                          (d) For the development of WORKSITE quality control plans for equipment,
                                              services, and rental equipment.

                                          (e) For the inventory management, preservation, handling, and storage of critical
                                              equipment and consumables.




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                              8.1.3    CONTRACTOR shall provide to COMPANY prior to shipment, manifests quoting
                                       volumes, weights, descriptions, and serial I identification numbers on all equipment
                                       and material delivered to COMPANY's nominated supply base or heliport.

                              8.1.4    CONTRACTOR shall continuously examine all steps of the supply chain to identify
                                       methods to reduce costs relating to logistics, transportation, handling, storage,
                                       inspection, and repair.

                              8.1.5   CONTRACTOR shall be responsible for the disposal cost of all drums, bags, and any
                                      other waste types generated by CONTRACTOR activities required in performance of
                                      the WORK whether inside or outside CONTRACTOR's facilities. COMPANY shall
                                      return all CONTRACTOR's drums, bags, and other waste types generated at the
                                      WORKSITE to CONTRACTOR for disposal.

                              8.1.6    CONTRACTOR shall ensure that all equipment and material deliveries identify the
                                       CONTRACT, Purchase Order, or Call-Off reference numbers as applicable on 100%
                                       of packing lists and on material and equipment where practical.

                              8.1.7    CONTRACTOR shall provide Materials Safety Data Sheet (MSDS) for all applicable
                                       materials offered for shipment to the WORKSITE. Laminated copies shall be
                                       provided for use at WORKSITE. CONTRACTOR shall ensure that a hard copy of the
                                       MSDS accompanies shipments to WORKSITE. CONTRACTOR shall ensure the
                                       MSDS is provided to COMPANY.

                              8.1.8    CONTRACTOR shall be responsible for obtaining necessary regulatory approval for
                                       fluids, chemicals, and materials used at the WORKSITE.

                              8.1.9    MSDS must be retained by CONTRACTOR at WORKSITE.


                        8.2   Make-up and Testing

                              8.2.1   Equipment shall be made-up in accordance with CONTRACTOR's procedures and
                                      quality plans (see Appendix 7 - Technical Integrity). CONTRACTOR shall provide
                                      procedures and quality plans for review and acceptance by COMPANY.

                              8.2.2   Upon completion of all testing, equipment shall be clearly identified (stenciled) with a
                                      designation of "Primary" or "Back-up" as necessary or use of an alternative tagging
                                      system such as "green tag".


                        8.3   Laboratory Testing and Reporting

                              8.3.1   CONTRACTOR shall have an onshore facility to perform laboratory tests in
                                      accordance with the latest API I ISO Specifications (as referenced in Section 3,
                                      Appendix 6 - Functional and Technical Specifications) or CONTRACTOR standard
                                      operating procedures or COMPANY specific procedures.

                              8.3.2 CONTRACTOR shall provide an offshore WORKSITE lab to perform laboratory tests
                                    in accordance with the latest API I ISO Specifications (as referenced in Section 3,
                                    Appendix 6 - Functional and Technical Specifications) or CONTRACTOR standard
                                    operating procedures or COMPANY specific procedures.


                 9.0 STORAGE



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                        9.1   Where CONTRACTOR is responsible for storing COMPANY's goods and materials, these
                              goods and materials shall be adequately protected against corrosion, degradation, handling,
                              transportation, or storage damage through the use of suitable protection and measures.


                        9.2   Upon acceptance by COMPANY, where acceptance is agreed upon when the COMPANY
                              signs the CONTRACTOR's service ticket for invoicing purchased items, COMPANY
                              acknowledges the passage of title and assumes the risk of loss on all purchased items from
                              CONTRACTOR to COMPANY regardless if the goods remain at CONTRACTOR's facilities
                              subject to the next paragraph below. Payment for purchased items is not contingent to any
                              future services which, if provided, will be subject of a separate agreement.

                              COMPANY acknowledges that CONTRACTOR will hold the requested, purchased items as a
                              bailee for COMPANY and that CONTRACTOR shall exercise custodial care and control in
                              accordance with good industry practice. CONTRACTOR assumes no liability with respect to
                              purchased items unless damage or loss is due to negligence of CONTRACTOR, willful
                              misconduct of CONTRACTOR, or failure of CONTRACTOR to adhere to industry standard
                              storage and preservation practices.      CONTRACTOR assumes no liability to insure
                              COMPANY owned equipment. CONTRACTOR liability shall be limited to replacement of
                              COMPANY's equipment, repair of COMPANY's equipment, or reimbursement of the
                              replacement cost of the equipment, whichever COMPANY elects.

                              At the time of title transfer, CONTRACTOR shall provide to COMPANY a recommended
                              storage procedure, a recommended maintenance plan and schedule, and an estimated cost
                              for storage and maintenance (Storage and Maintenance Plan) for the goods stored at
                              CONTRACTOR's facilities and I or at COMPANY's PMF facility in Houma, Louisiana, all
                              subject to COMPANY's approval.

                              If the CONTRACTOR is requested to store and I or maintain COMPANY's goods,
                              CONTRACTOR shall provide COMPANY with documented evidence that the Storage and
                              Maintenance Plan recommended by CONTRACTOR and approved by COMPANY has been
                              performed.

                              COMPANY will have sixty (60) days, from the time the Storage and Maintenance Plan is
                              submitted by CONTRACTOR to review and make recommendations and / or comments.
                              Until such time as COMPANY makes a decision as to where the material will be stored and
                              who will maintain it, CONTRACTOR shall store and maintain this material at no cost to
                              COMPANY.


                        9.3   CONTRACTOR shall be responsible for the timely written notification to COMPANY of any
                              damage to COMPANY owned equipment and materials. The notification will include a
                              descriptive listing of the equipment and materials and the estimated value of the equipment in
                              an undamaged state. The notification will also include a copy of CONTRACTOR's non-
                              conformance report inclusive of root cause analysis and corrective actions.


                        9.4   CONTRACTOR shall be responsible for effective management and storage of materials
                              (fluids, materials, chemicals, consumables, spare parts, re-dress kits, elastomers, etc.) and
                              ensure that aforementioned materials that have exceeded their shelf life or expiration date
                              and I or have been subject to a recall notice or engineering change order that such material
                              is not used by COMPANY.




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                 10.0 INVENTORY

                        10.1   CONTRACTOR shall provide to COMPANY a monthly inventory update (electronic
                               spreadsheet or equivalent) identifying the following:

                               10.1.1 CONTRACTOR owned equipment.

                               10.1.2 COMPANY owned equipment inclusive of Purchase Order value.

                               A monthly inventory update shall also be created and be able to record the quantity and
                               name of the materials that are reserved I allocated (i.e., Items required for a completion
                               would be recorded and reserved).


                        10.2 COMPANY owned equipment returned from WORKSITE shall be properly cleaned, protected
                             from corrosion, protected from storage I handling damage, and stored by CONTRACTOR in
                             accordance with CONTRACTOR procedures.


                 11.0 PREVENTIVE MAINTENANCE (PM) / SERVICE SPECIFIC QUALITY PLAN

                        11.1   CONTRACTOR shall have a documented preventive maintenance plan for all equipment
                               (both powered equipment and non-powered equipment).


                        11.2 COMPANY or designated COMPANY Representative shall review CONTRACTOR's PM plan
                             and schedule. The review shall verify compliance to contractual requirements.


                        11.3 The Preventive Maintenance Program shall include, but not be limited to:

                               11.3.1   Regularly scheduled inspection and maintenance procedures.

                               11.3.2 Pre-Job equipment check.

                               11.3.3 Post-Job equipment check.

                               11.3.4 Regular hydrostatic pressure test of field iron (any fluid conveying conduit including
                                      rubber hoses).

                               11.3.5 Procedure for recording and tracking equipment problems.

                               11.3.6 Method of positive identification of equipment not meeting CONTRACTOR
                                      performance standards.


                 12.0 PRE-JOB MODEL

                        12.1   Prior to initiating WORK, CONTRACTOR shall generate a Job Model which includes but is
                               not limited to:

                               12.1.1   Detailed running and installation procedures, including but not limited to, drawings,
                                        calculations, rig-up diagrams, equipment layouts, technical manuals, and
                                        specification sheets, etc.   Procedures will reference CONTRACTOR Standard
                                        Operating Procedures (SOP). CONTRACTOR shall produce SOP for the installation



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                                     and service of completion equipment and services.        SOPs will be approved by
                                     CONTRACTOR's Technical Authority.

                             12.1.2 Torque and drag profiles.

                             12.1.3 Tubing stress analysis and movement calculations.

                             12.1.4 Treating and pumping design and plans.

                             12.1.5 Procedure for recording and tracking equipment problems.

                             12.1.6 Operating parameters for all equipment.


                 13.0 JOB EVALUATION AND JOB PERFORMANCE

                        13.1 Job Evaluation

                             13.1.1 A report on job execution shall be completed by CONTRACTOR within two (2)
                                    working days using COMPANY preferred reporting system and CONTRACTOR
                                    preferred execution report (format to be agreed with COMPANy). In addition, for
                                    each job, a Service Quality Assessment shall be provided. The contents of this
                                    assessment shall be agreed to by COMPANY.

                             13.1.2 At the end of each job, CONTRACTOR shall provide COMPANY with an end of well
                                    report. This report is to be presented within thirty (30) days of the completion of the
                                    WORK.

                             13.1.3 For each job executed, CONTRACTOR shall complete COMPANY's Drilling and
                                    Completions SPM Score Card.        The completed card shall be submitted to
                                    COMPANY's representative within thirty (30) days ofthe completion of WORK.

                             13.1.4 Any incident investigation requested by COMPANY shall require a fully agreed terms
                                    of reference (TOR) prior to the commencement of the investigation.

                             13.1.5 All completion NPT incidents in DIMS shall be investigated by CONTRACTOR and
                                    written recommendations made to COMPANY to prevent recurrence.


                        13.2 Job Performance

                             13.2.1 The intent of the CONTRACT is for CONTRACTOR to deliver upper quartile
                                    performance and continuous improvement throughout the CONTRACT term.

                             13.2.2 On a quarterly basis CONTRACTOR shall present QPR data detailing overall
                                    performance using Drilling and Completions SPM metrics.

                             13.2.3 CONTRACTOR and COMPANY shall agree on annual performance assessment.
                                    Key performance criteria are listed in Attachment D - Global Completion Score Card.



                 14.0 STIMULATION VESSEL




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                        14.1   CONTRACTOR shall provide a suitable vessel to carry out the stimulation services in
                               connection with the WORK (hereinafter referred to as the "Vessel"). Responsibility for and
                               the expense of management, maintenance and operation of the Vessel shall remain at all
                               times with CONTRACTOR. CONTRACTOR shall carry out its services with the utmost
                               dispatch during the day and night as required by COMPANY and shall render all customary
                               assistance to COMPANY in the conduct of its operations with the Vessel's crew and
                               equipment. The Master of the Vessel shall be in full and complete control thereof.
                               CONTRACTOR and not COMPANY shall employ all members of the crew of the Vessel.
                               Subject to foregoing and CONTRACTOR's decision that an operation is likely to cause loss
                               or damage to property, or loss of life or injury, all work requested by COMPANY shall be
                               undertaken and accomplished with reasonable dispatch.


                        14.2 CONTRACTOR shall man the Vessel with Master, Officers, and crew as required for the
                             Vessel to perform its normal services. In addition to the Vessel's Master, Officers, and crew,
                             CONTRACTOR shall provide all necessary personnel, pumps and ancillary plant and
                             equipment required to carry out the WORK.


                        14.3 Vessel shall be maintained, crewed, and operated in accordance with the applicable
                             legislation in the country of its operation. In addition to these legislative requirements, the
                             Vessel shall be operated in accordance with best industry practice and procedures.


                        14.4 CONTRACTOR shall ensure that the Vessel has all necessary safety and seaworthiness
                             certificates permitting it to be employed on the WORK. CONTRACTOR shall ensure that no
                             modifications of any kind to the Vessel have been or are made which could invalidate the
                             said documents and certificates.         CONTRACTOR shall, upon the execution of the
                             CONTRACT, provide COMPANY with such copies of the said safety and seaworthiness
                             certificates, as COMPANY shall request. CONTRACTOR shall also permit COMPANY to
                             examine the originals of any such certificate.


                        14.5 CONTRACTOR shall carry out on its own initiative and at its own cost all inspection,
                             maintenance and repair of the Vessel necessary to maintain the same safe, fully certified and
                             operational status at all times. COMPANY shall be entitled to audit and reject any Vessel,
                             which does not conform to the CONTRACT. CONTRACTOR shall immediately rectify the
                             defect or deficiency, at no additional cost to COMPANY.


                        14.6 CONTRACTOR shall assume full responsibility for the safety of the Vessel and marine
                             operations performed in connection with the WORK. In particular, CONTRACTOR shall
                             ensure that the Vessel employed or chartered by CONTRACTOR shall at all times be in safe
                             working condition, suitable for WORK and free from any legal, contractual or other restriction
                             preventing it from operating in those areas and conditions required by the tenns of the
                             CONTRACT.


                        14.7 CONTRACTOR shall inform COMPANY of the antiCipated Vessel workload, location and
                             alternative commitments at a minimum of two-week intervals, commencing upon a date to be
                             agreed between COMPANY and CONTRACTOR.

                        14.8 CONTRACTOR's dynamically-positioned Vessels shall comply with COMPANY's dynamic
                             positioning requirements, a copy of which will be provided by COMPANY upon request by




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                             CONTRACTOR. COMPANY number for this document is "MAR - 57 - MA - PR - 0006,
                             Revision 0" and dated 13 December 2007


                 15.0 MANAGEMENT OF SERVICE

                        15.1 Technical Support

                             15.1.1   CONTRACTOR shall provide to COMPANY well-qualified                 personnel,   best
                                      technology, processes, and equipment on a global basis.

                             15.1.2 CONTRACTOR shall have a system in place for prioritizing technical service work,
                                    internal costing of that work and resource allocation. When a piece of work is
                                    required by COMPANY, the scope shall be agreed between COMPANY and
                                    CONTRACTOR in writing.


                        15.2 Management Systems

                             15.2.1   CONTRACTOR shall have in place and demonstrate compliance with all of the
                                      systems specified as follows: HSSE Management System; Preventive Maintenance
                                      Systems; Personnel Development and Deployment System for COMPANY; and
                                      Quality Assurance and Quality Control plan for tools, bulks, equipment, and
                                      laboratory.

                             15.2.2 CONTRACTOR shall as required by COMPANY, perform a capability audit of the
                                    services provided to ensure strict adherence to the CONTRACT specifications,
                                    CONTRACTOR's policies and operating procedures performed in a manner so as to
                                    provide a professional and cost effective service.

                             15.2.3 Prior to the introduction of a new chemical or hazardous material to the WORKSITE,
                                    MSDS shall be reviewed by CONTRACTOR who shall ensure that the potential
                                    human health risk is assessed and provided to COMPANY. The chemical or material
                                    shall not be used or shipped to the WORKSITE until this process is completed
                                    satisfactorily.


                        15.3 Third Party Services

                             15.3.1   CONTRACTOR may be required to subcontract and manage non-core services.
                                      This requirement shall be at COMPANY's discretion, and COMPANY assesses that
                                      CONTRACTOR is able to effectively manage such services in COMPANY's best
                                      interests.    In such case CONTRACTOR shall demonstrate to COMPANY's
                                      satisfaction that CONTRACTOR

                                      (a) Employed competent people by the SUBCONTRACTOR,

                                      (b) Has HSSE management plans in place,

                                      (c) Has managed the training of its personnel in, and

                                      (d) Has demonstrated good audit practices and control of the service.

                             15.3.2 COMPANY shall produce a scope of work for any service which it wishes
                                    CONTRACTOR to perform or to subcontract.



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                             15.3.3 Detailed scopes of work for the provision of Third Party services referred to above
                                    shall be mutually agreed between COMPANY and CONTRACTOR.




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                                        Attachment A - Competency Assessment Model
                                              Engineering and Technical Support

                 Experience

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                                         in 8 co-nple:ions/ sand control
                                         environment
                                                                                                                                                                                                            ,
                                         Has been involved in a minimum of 15
                                         completion operat'ons for wells of each
                                         type (horizontal OrlG~, Allpack,
                                         CHGP, FP)                                                                                                                                                        .'.'. L'
                                         Has been involved in the 8)(ecution of>
                                         16 TCP jobs, and at least five
                                         onenta:ed TCP obs
                                         Has been t~e lead engineer! Field
                                         ServicE Coordln:atorfor at least 10 sane
                                         control ·obs
                                         Fully u'lclerstands company SOP's for
                                          each soma control techmque and has                                                                                                                                "

                                         l·fvTitten >15 completion program8
                                          teqwtirg sa:ld cor;trol and 5 completior                                                                                                                          i          ;   I
                                            rograms reqJlrlng TCP
                                          Capable of using corrpany software                    ,0
                                          1, Perform T&D analys,s 2, Conduct
                                          tool movement and tub'rg stress
                                          analysis 3, Predict fLud rheology·
                                         Iversus temf2erature, and frictional
                                          pressu'e loss dun()g pumpmg
                                          operatiJns. 4 Design sane cJntro:
                                          operatiJnal schedule. 5, rroduce all
                                          engineering cafc,Jlaticns & proc9ci:Jres
                                          related to pre3s~re testing operations,
                                          mainta ning fi'1ai seman out pressurE
                                          below minimcm rated collapse
                                          presswe etc 6, Calcula:e charge
                                          pressu·e for FIV and cycle presswe
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                                         operatiJn and limitatIOns 0" ccmtrGE:tor's
                                         service tools smd               and capable
                                         of troubleshuotlng
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                                         investigatIOn of cntlcal e-qu·pment
                                         items 2, InpLt to               . p'0cedur9s
                                         for same. Documented
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                                         of prodJc'n~ all engineeting
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                                         laboratJrj' testing procedures. Capable
                                         of prod.Jc'ng ;;r forrnatlorl d;)m;;rgC! work
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                                          els, b'1n2 and OIl-pac tlUid slfste-ms
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                                         Has been involved in execution of :088                                                                                                                                  ..        I

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                                         Ito sandface compietior. Familiar with
                                          screen plugging lests to mitigate
                                         againsl same.
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                                         f.JAUC            and irpl.J to same to'
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                 Interpersonal

                 DEse EnginNH                                                         Self Assessed Skill le>l'el         Go to
                                                                      o '8 has no experience in this area.
                                                                      1 's basic only in the assessed area              Summary
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                 Must clearly demonstrate the
                 ability to communicate easily at
                 all levels with BPTT engineers,
                                                               3
                 ser,ice company lield personnel,
                 workshop technicians and
                 tec~nicall R&D facilities
                 Must be effective & motivated
                 team player Intent on striving for
                                                               3
                 continued performance
                 im 'ro¥ement

                 Must be fluent In Engl:sh                     3     I.'
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                 HSSE


                 DEse Engineel                                                        Self Assessed Skill Level            Gato
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                                                                    2 is competent in the assessed area
                                                                    3 is hi hly competent in the asses3ed area
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                 Must have complete awareness of                     I:
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                 occupational hygiene issues                                                                                                  I  I
                 Understands the implications of           3         I:                                                                       II I
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                 MSDS sheets & recJmmends
                 procedures & PPE
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                 Must be familiar wilr relevant                      I[                                                                            I •
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                 offshJre Trinidad.
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                 STOP trained. If so, date of last                   T;                                                                        ,I
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                 STOP course required. Must be
                 capable ofperformin~ ASA on               3
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                 site,                                                                                                                       ..;:.xl,:
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                 Technical




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                                           draae level &. expenence. FGrma               3
                                           tralnvlg as ;3 sand control
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                                           -equi;ed
                                           'AUGt have good understanding of                                                                                                                               -



                                           well construction process
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                                           EVidEnce of how experience
                                       I   ~ainEd is required                                          -    .
                                           :v1ust have good working
                                           ~nov'tledge of drilling fluids &              3
                                            ntluence on formation damage
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                                           clo . . vnhole conditions on slurry
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                                           Capable of using company
                                           software to: 1, Perform T&D                                                  [
                                           :malvsis. 2. Conduct tool                                                    ,
                                           rnovement and tubing stress
                                           analysis. 3, Predict fluid rheology
                                           "fersus teIT'perature, and frictional
                                           oressure lo:::s during pumping
                                           operations 4, Design sand
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                                           ::ontrol operational schedule. 5,
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                                           ~roduce all   engineering
                                           ::alcLiations &. procedures relatecl
                                           ~o pressure testing operations,
                                           main:aining final screen out
                                           ;)ressure be CMI minimum rated
                                           ::ollapse pressure etc. 6,                                                   [
                                           Calculate charge pressure for FIV
                                                                                                                    !
                                           and cycle pressure required to
                                           Jpen same.                                                .;;                                                                                . j.}:;:-<
                                           Capable of making all engineering                                                                                                                     '   ..
                                           ::alcLiations related to surface &..
                                           :lownhole pressure testing                    3

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                                           operations &. safely conduct,ng
                                           ~estinq_                                              1,.<;'                                                                                 .;l.

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                                           3paca out calculations for
                                           "Nashpipe - GP tool, and                      3
                                           oreventlotl of connections across
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                                           :v1ust be capable of interpret'ng
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                                            blenders and mixing systems
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                                              Attachment B - State of Stress Table




                                                      STATE OF STRESS TABLE

                                            Assembly Number:       A XXX-XX-XXXX
                                                                                                     FACTOR OF
                                                               CRITICAL
                        PART NO.         DESCRIPTION                           FAILURE MODE           SAFETY I
                                                                 (YIN)
                                                                                                       RATING

                 pooo-o 1-000 1       ScSSV Bottom Sub            Y           200,000 Ibs Tensile        2.5
                                                                             15,000 psi int. Press       1.8
                                                                                   Torsion           20,000 ft-Ibs

                 POOO-01-0002         Yo" set screw               N



                 Verification Test Number: _ _ _ _ _ _ __        Date of Test: _ _ _ _ _ __

                 Maximum Tension Applied: _ _ __           Maximum Internal Pressure Applied: _ _

                 Actual Material Yield Tested: _ _ _ _ _ Minimum Material Yield Specified: _ __

                 Design Criteria: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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                                    Attachment C - Equipment Performance Validation Table




                                           EQUIPMENT PERFORMANCE VALIDATION TABLE
                                                               PERFORMANCE VALIDATION METHOD*
                        ASSEMBLY                     TESTING           HISTORICAL USE      ANALYTICAL**

                 7" TRSV f/12.000 psi
                 WP inside project                     YIN                       YIN                       YIN
                 specified casing



                         * Provide summary of validation obtained for 'Yes' responses or a plan and schedule to obtain
                         validation for 'No' responses through testing or analytical methods.


                         ** Include States of Stress Table.




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                                                                       Attachment D - Global Completions Score Card




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                    " Tel:;,; M~f"aL'fE




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                    " TotE;' NPT IrGld-e:r':.& WCOOiJ!i'l'iii')!e to P" ,,""",'" i"w"'" "'''''myJ
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                    ~ TatE, NPT Ir;clcen~:& ;2;("COJma,[!0:! tc j5-iIltc ':~II'1,wt h\o\J-w\!:l'r;;>\\,III!LIi:,,~Jti:if"tid 1::(jIJ J;:i1%!!~IU
                    I' Tot~: ~PT Ir-c'i@r:& I3("CQlJIi~;;ID.~ to

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                        Appendix 6 - Functional and Technical Specifications




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                                                        A. Cementing Services



                 1.0     RELEVANT CEMENTING SPECIFICATIONS APPLICABLE TO THIS CONTRACT

                        All relevant API I ISO specifications shall apply to the Scope of Work unless agreed otherwise by
                        COMPANY. (The current lists of relevant specifications are listed in Attachment C entitled:
                        "API/ISO SPECIFICATIONS


                                                                                               --

                     API
                 Specification                  Title                                   Synopsis
                   Number
                                                                  Covers design processes for cementing where the risk
                                     Cementing Shallow Water
                                                                  of shallow water flows are high. Includes test
                 API RP65            Flow Zones in Deep water
                                                                  procedures and checklist for design of cement slurries
                                     wells
                                                                  to prevent shallow water flow.
                                                                  Provides the current principles and practices regarding
                                                                  the evaluation and repair of primary cementations.
                 API1DTR1            Cement Sheath Evaluation     Cement bond logs, compensated logging tools and
                                                                  borehole compensated logging tools and ultrasonic
                                                                  logs.
                                     Temperatures for API
                                     Cement Operations            Work by the API task group on cementing temperatures.
                                     Thickening Time tests-       The task group reviewed a large industry database and
                 API10TR3
                                     1993 Report from the API     recommend significant changes to determine well
                                     Task Group on Cementing      stimulation temperatures.
                                     Temperature Schedules.
                                     Addendum 1 -
                                     Specification for Cements    Provides guidance for the testing of cement slurries and
                 API1DB
                                     and Materials for well       related materials under simulated well conditions.
                                     Cementing
                                     Presenting Performance
                                     Data on Cementing and
                 API41
                                     Hydraulic Fracturing
                                     Equipment
                                     Recommended Practice for
                                                                  Describes the testing and practices to evaluate the
                                     Performance Testing of
                 API RP 1DF                                       performance of cementing float equipment. The
                                     Cementing Float
                                                                  Specification only covers equipment used with WBM.
                                     Equipment.
                                                                  Specifies requirements and gives recommendations for
                                     Specification for Cements
                                                                  eight classes of well cement including their chemical
                 API Spec 10A        and Materials for well
                                                                  and physical requirements and procedures for physical
                                     Cementing.
                                                                  testing.
                                                                  Covers cements and well cementing. Intended as a
                 API G04400-         Worldwide Cementing
                                                                  practical text by both the beginning and practicing
                 Obsolete            Practices
                                                                  engineer.
                                                                  Provides minimum performance requirements test
                                     Specification for Bow        procedures and marking requirements for bow spring
                 API Spec 100
                                     Spring Casing Centralizers   casing centralizers. Specification does not cover rigid
                                                                  centralizers.




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                 2.0    THE MINIMUM TESTING FOR CEMENTING OPERATIONS

                        2.1    All testing is required on rig samples and to be submitted to COMPANY Wells Team 24 hours
                               prior to cementing operations commence, unless othelWise agreed with Wells Team.


                        2.2    General Requirements (all slurries all job types)

                               All slurries incorporating a Fluids Loss aid must have API fluid loss determined

                               Slurries placed for control of Shallow Flows (conductor or surface pipe) or where gas
                               migration risk is high (predicted flow potential is high and/or static cement overbalance <
                               200psi against a permeable gas bearing formations) must have static gel strength transition
                               time and zero gel time determined. In addition COMPANY settlement test must be run in
                               these situations


                        2.3    Specific Requirements
                                                                                                               "
                                                                                                                               COMPANY
                                                        Pump     Compressive    Operating       API Fluid
                 Job Type              Slurl)f                                                                Rheology         Settlement
                                                  .'.
                                                        Time     Strength       Free Water      Loss                   .....
                                                                                                                     ;.'       Test
                 Conductor             Neat             Note 1   No             No              No            No               No
                                       Extended         Yes      Yes            Yes             No            Yes              No
                 Surface               Lead             Yes      Note 2         Yes             No            No               No
                                       Tail             Yes      Yes            Yes             No            No               No
                 Intermediate          Lead             Yes      No             Yes             No            Yes              No
                                       Tail             Yes      Yes            Yes             No            Yes              No
                 Production
                                       Lead and
                 Casing and                             Yes      Yes            Yes             No            Yes              Note 3
                                       Tail
                 Drilling liners
                 Production
                                                        Yes      Yes            Yes             Yes           Yes              Yes
                 Liner
                 Plugs                                  Yes      Yes            Yes             No            Yes              Note 3

                           Note 1: Extended testing regime applies if temperature> 40 degrees C or slurry not Class G/H +
                                   accelerator

                           Note 2: Where structural support or zonal isolation is required, and when a filler slurry is
                                   unnecessary, compressive strength must be determined.

                           Note 3: When the hole angle exceeds 70 degrees, a COMPANY settlement test is required.


                        2.4    Compatibility Testing

                               2.4.1       Water Based Mud and Oil Based Mud

                                           For liner jobs and where cement is pumped directly in contact with the drilling fluid a
                                           contaminated thickening time test is required using a 95 I 5 cement to mud
                                           contaminant.

                                           For every well API mud Ispacer compatibility test should be performed on intervals
                                           isolating hydrocarbon bearing formations and permeable overpressured brine or



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                                      water bearing formations for each section (mud spacer combinations only need to
                                      be tested once per well).

                                      Where a cement evaluation log is to be run compressive strength should be
                                      determined for a 95/5 cement/spacer combination.


                             2.4.2   Oil Based Mud

                                     Water wetting characteristics of the spacer to be confirmed on a metal coupon test
                                     with sample of field mud for once each well.




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                                                          B. Fluids Services




                                                        B. Fluids Services

                 NO FUNCTIONAL AND TECHNICAL SPECIFICATIONS ARE INCLUDED IN SECTION 3 - SCOPE OF
                 WORK, APPENDIX 6 - FUNCTIONAL AND TECHNICAL SPECIFICATIONS




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                                                           C. Well Placement




                                                            C. Well Placement

                 1.0    MWD

                 1.1     MVVD, Tool Collar Mounted (51.5 bps) and MVVD, Tool Probe Based (51.5 bps) shall be 3 1J4" -
                         11 1/4" Collar size (All hole sizes) and include the following in the standard offering:

                         1.1.1    Lost Circulation Tolerant Pulser 1 Modulator (to 50 ppbl for uniform, non-coarse, and
                                  homogeneously-mixed materials)

                         1.1.2    Price includes all additional subs for telemetry, tool bus termination, and batteries etc.

                         1.1.3    Max Operating Temperature up to 302°F BHST (150 deg C)

                         1.1.4    Max Hydrostatic Pressure up to 25,000 psi

                         1.1.5    Continuous wave positive or negative pulse.

                         1.1.6    STANDARD - Transmitting at up to 1.5bps

                         1.1.7    RT Communications to up hole and downhole tools

                         1.1.8    Power provided for all LVVD tools and configurations

                         1.1.9    Downlink option active and inclusive

                         1.1.10 Rotary Speed: Rated to 250 RPM; however, due to excessive wear and tear any damage

                                  caused above 220 RPM will be for COMPANY account.

                         1.1.11   Flow range optional    : 200-400, 300-600,400-800,900-1200 gpm

                         1.1.12 Drilling Fluid Sand Content : 1% (maximum)

                         1.1.13 LCM max size and concentration : 40lb/bbl medium grade.

                         1.1.14 C02 and H2S Contents               :10% and 10 ppm

                         1.1.15 Drilling Dynamics survivability 30 minutes at design specification limit

                         1.1.16 INCLINATION Measurement

                                  1.1.16.1 Range                   :0°_180°
                                  1.1.16.2 Accuracy      :± 0.1°
                                  1.1.16.3 Resolution    :0.05°

                         1.1.17 AZIMUTH Measurement

                                  1.1.17.1 Range                :0°-360°
                                  1.1.17.2 Accuracy      :± 1.0°
                                  1.1.17.3 Resolution    :1.0°




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                         1.1.18 MAGNETIC TFO Measurement

                                  1.1.18.1 Range :0°_360°
                                  1.1.18.2 Accuracy   :± 1 ° (Update frequency 15 seconds or less)
                                  1.1.18.3 Resolution :1.0°

                         1.1.19 GRAVITY TFO Measurement

                                  1.1.19.1 Range                  :0°_360°
                                  1.1.19.2 Accuracy     :± 3.0°
                                  1.1.19.3 Resolution   :1.0°

                         1.1.20 TEMPERATURE Measurement

                                  1.1.20.1 Range               :0-150°C (175°)
                                  1.1.20.2 Accuracy     :+/- O.soC
                                  1.1.20.3 Resolution          :O.1°C

                         1.1.21   FIELD STRENGTH        :Magnetic Field Strength (Interference)

                         1.1.22 6 AXIS SURVEY           :6 Axis measurements for accelerometers and magnetometers.

                         1.1.23 5 AXIS SURVEY (axial correction):5           Axis   measurements   for   accelerometers      and
                                magnetometers.

                         1.1.24 MagnetiC interference corrected survey

                         1.1.25 WASHOUT DETECTION:                      :Turbine    RPM   transmitted    where   available    in
                                MWD/LWD

                         1.1.26 When operating in "Recorded Mode", as a minimum there must be sufficient down hole
                                power shall be provided for 100 hours of operation with all petro-physical sensors
                                functioning. Sufficient downhole memory shall be available for 10000 feet of logged
                                interval with all logging sensors sampling data at an average of two (2) samples per foot.

                         1.1.27 Modular or Collar mounted MWD inclusive of Control Electronics, Memory & Power
                                Source, Processing and telemetry modules. Real time and memory (if available) update
                                of Directional inclination, Azimuth, Toolface, MagnetiC Highside, Gravity Highside, Flow
                                On or off (Turbine RPM),         Tool face orientation, Circulating Temperature, Static
                                temperature, 1.5 bps telemetry, advanced or enhanced memory & data compression.


                 1.2     MWD Unit will meet the following specification, with listed ancillaries:
                         1.2.1 An intrinsically safe MWD/LWD surface unit if situated within the hazardous zone

                         1.2.2    Surface decoding equipment and software for differential, multiple standpipe sensor
                                  signal detection, filtering and signal strength boosting.

                         1.2.3    Surface computing equipment

                         1.2.4    Surface plotting equipment

                         1.2.5    Offshore remote display screens

                         1.2.6    Depth tracking sensors including heave compensation



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                         1.2.7    Hook load sensors

                         1.2.8    RPM sensor

                         1.2.9    Surface torque sensor

                         1.2.10 Pump stroke flow sensor

                         1.2.11   Signal pressure transducers

                         1.2.12 Rig floor display

                         1.2.13 Real time data transmission equipment and software.

                         1.2.14 Rig floor Real Time down-hole vibration "Traffic Light" warning unit

                         1.2.15 Cables

                         1.2.16 Equipment baskets and containers I workshops



                 1.3     Should CONTRACTOR be requested to operate within an alternative unit or office, or the supplier
                         have a rationalized offering for surface data acquisition and service support the following should
                         be provided as a minimum:

                         1.3.1    Surface decoding equipment and software for differential, multiple standpipe sensor

                                  signal detection, filtering and signal strength boosting.

                         1.3.2    Surface computing equipment

                         1.3.3    Surface plotting equipment.

                         1.3.4    Depth tracking sensors

                         1.3.5    Hook load sensors

                         1.3.6    Pressure transducers

                         1.3.7    Cables



                 1.4     Optional extras that can be added to the standard MVVD service include but will not be limited to:

                         1.4.1    TELEMETRY:

                                  1.4.1.1 Transmitting at greater than 1.5bps and up to 3 bps (inclusive)

                                  1.4.1.2 Transmitting at greater than 3bps and up to 6 bps (inclusive)

                                  1.4.1.3 Transmitting at greater than 6bps and up to 12 bps (inclusive)

                                  1.4.1.4 Transmitting at greater than 12bps



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                         1.4.2   M\J\iD HPHT

                                 1.4.2.1 Max Operating Temperature (High Temp Option) greater than 300°F BHST (150
                                         deg C) to 347 Deg F (175 deg C)

                                 1.4.2.2 Max Hydrostatic Pressure (High Press Option) Greater than 25,000 psi up to
                                         30,000 psi

                                 1.4.2.3 Both HP and HT options at the same time


                         1.4.3   CONTINUOUS SURVEY - inc and azi in RT

                         1.4.4   Wired pipe cross over sub option available for GOM, Trinidad and Alaskan operations.

                         1.4.5   High Density Data I High Downhole Power Generation addition to the standard M\J\iD
                                 pricing should extra power be required to run high tier LWD services


                 1.5     M\J\iD, Tool Electromagnetic (::;12 bps) specifications will be AS MWD                ABOVE WITH
                         DIFFERENCES BELOW

                         1.5.1   4 3/4" - 6 3/4" collar

                         1.5.2   Up to and inclusive of 12 bps telemetry

                         1.5.3   125 deg C, 12,000 psi rated tools

                         1.5.4   Flow range       : 0-400, 0-600 gpm

                         1.5.5   Data compression

                         1.5.6   M\J\iD, Tool Electromagnetic, Retrievable (::;12 bps) shall be fully retrievable


                 2.0    DRILLING DYNAMICS

                 All Drilling Dynamics shall be available from all MWD and LWD tools and be inclusive of the following:

                 2.1     Drilling Dynamics in separate collar, in MWD or LWD tools for 3 1/8" - 11 1/4" Collar size (Any
                         hole size)

                 2.2     Max Operating Temperature up to 302°F BHST (150 deg C)

                 2.3     Max Hydrostatic Pressure up to 25,000 psi

                 2.4     Rotary Speed: Rated to 250 RPM; however, due to excessive wear and tear any damage caused
                         above 220 RPM will be for COMPANY account.

                 2.5     Flow range optional      : 200-400, 300-600,400-800,900-1200 gpm

                 2.6     Drilling Fluid Sand Content      : 1% (maximum)

                 2.7     LCM max size and concentration        : 40lb/bbl medium grade.



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                 2.8     C02 and H2S Contents            :10% and 10 ppm

                 2.9     Drilling Dynamics survivability30 minutes at design specification limit

                 2.10    Includes all batteries and disposal

                 2.11    For standard Drilling Dynamics services the following measurements will be taken and
                         transmitted in RT

                        2.11.1         Lateral Vibration

                        2.11.2         Axial Vibration

                        2.11.3         Torsional Vibration

                        2.11.4         Peak Shock / Shock Risk / Shocks per second / RMS per second

                        2.11.5         Drilling Dynamics in Memory when achievable

                 2.12    Stick-Slip in RT Stick-Slip (delta RPM) in RT

                        2.12.1         Peak RPM in RT

                        2.12.2         stick-slip in Memory when achievable

                 2.13    Downhole Weight and Torque will be transmitted in real-time and includes:

                        2.13.1         Weight, torque and bending force in separate collar or in MWD 6 3/4" - 8"
                                       Collar size (Any hole size)

                        2.13.2         Downhole Weight on Bit

                        2.13.3         Downhole Torque in RT

                        2.13.4         DWOB and DTORQ in Memory when achievable.

                 2.14    Borehole Annular Pressure in Real Time & Memory (APWD) can be in separate collar or in
                         MWD, will be in 4 3/4" - 9 1/2" Collar size (Any hole size) and include:

                        2.14.1         Range             :1 - 25,000 psi (1,725 bar)

                        2.14.2         Resolution        :5 psi

                        2.14.3         Accuracy:         :+/- 12psi I 0.25% of full scale.

                        2.14.4         Total Error:      :<0.25 % F.S.

                        2.14.5         Borehole Annular Pressure in Real Time & Memory

                 2.15    Options that COMPANY may procure during operation of the WORK include:

                        2.15.1         Annular PWD (Pumps on + off for LOT) in Real Time & Memory (provides only a
                                       minimum pressure reading, a maximum pressure reading, and a mean pressure
                                       reading)



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                        2.15.2              Bending Force in Real Time & Memory

                        2.15.3              Azimuthal Bending in Real Time & Memory

                        2.15.4              High speed sample option (1000Hz) for Drilling Dynamics

                        2.15.5              Downhole tare feature in Real Time & Memory

                        2.15.6              DYNAMICS HPHT

                                         2.15.6.1   Max Operating Temperature (High Temp Option) greater than 300°F BHST
                                                    (150 deg C) to 347 Deg F (175 deg C)

                                         2.15.6.2   Max Hydrostatic Pressure (High Press Option) Greater than 25,000 psi up
                                                    to 30,000 psi

                                         2.15.6.3   Both HP and HT options at the same time


                 3       GAMMA RAY

                 The following specifications are standard whilst running a Gamma Ray service:

                 3.1     Max Operating Temperature up to 302°F BHST (150 deg C)

                 3.2     Max Hydrostatic Pressure up to 25,000 psi

                 3.3     Rotary Speed   : Rated to 250 RPM; however, due to excessive wear and tear any damage
                         caused above 220 RPM will be for COMPANY account.

                 3.4     C02 and H2S Contents               :10% and 10 ppm

                 3.5     Drilling Dynamics survivability 30 minutes at design specification limit

                 3.6     GR in separate collar or in MWD             3 1/8" - 9 1/2" Collar size (Any hole size)

                 3.7     Pricing includes all batteries and disposal

                 3.8     Gamma Ray - PlateaulTotal, non-azimuthal in Memory,

                                 3.8.1      Real-Time add-on

                                 3.8.2      Range: 0-250 API

                                 3.8.3      Accuracy:+/- 2.5 API at 100ft/hr

                                 3.8.4      Vertical resolution:6"

                 3.9     Gamma Ray - Spectral in Memory

                                 3.9.1      Real-Time add-on

                                 3.9.2      Range: 0-250 API




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                                3.9.3     Accuracy:+/- 2.5 API at 100ft/hr

                                3.9.4     Vertical resolution:6"

                                3.9.5     Potassium, thorium, and uranium measurements (K, Th, and U).

                 3.10    Gamma Ray - Azimuthal in Real Time & Memory

                                3.10.1    Range: 0-250 API

                                3.10.2 Accuracy:+I- 2.5 API at 100ft/hr

                                3.10.3 Vertical resolution:6"

                                3.10.4 Azimuthal (Up/Down)

                                3.10.5 Azimuthal GR (all sectors transmitted) in Memory as standard

                 3.11    Gamma Ray, N. Bit (modular sub) in Real Time (incorporated into the MTR (excluding RSS)

                                3.11.1    N. Bit (modular sub)

                                3.11.2 Less than 5 ft from bit

                 3.12    Optional extras that are associated to MWwd OR Iwd Gamma Ray include:

                                3.12.1    Azimuthal Measurements

                                         3.12.1.1 Azimuthal (4 sector)

                                         3.12.1.2 Azimuthal (8 sector)

                                         3.12.1.3 Azimuthal (16 sectors or greater)

                                3.12.2 GR HPHT

                                   3.12.2.1       Max Operating Temperature (High Temp Option) greater than 300°F BHST
                                               (150 deg C) to 347 Deg F (175 deg C)

                                   3.12.2.2        Max Hydrostatic Pressure (High Press Option) Greater than 25,000 psi up
                                               to 30,000 psi

                                   3.12.2.3       Both HP and HT options at the same time

                                3.12.3 Total GR in Memory only option or as an add-on to a real-time service.


                 4       RESISTIVITY

                 The following technical specifications are required from any resistivity offering:

                 4.1     Resistivity in separate collar or in MWD        3 1/8" - 9" Collar size (Any hole size)

                 4.2     Max Operating Temperature up to 302°F BHST (150 deg C)




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                 4.3     Max Hydrostatic Pressure up to 25,000 psi

                 4.4     Rotary Speed: Rated to 250 RPM; however, due to excessive wear and tear any damage caused

                         above 220 RPM will be for COMPANY account.

                 4.5     Flow range - no limits

                 4.6     C02 and H2S Contents            :10% and 10 ppm

                 4.7     Drilling Dynamics survivability 30 minutes at design specification limit

                 4.8     All Drilling Dynamics provided where available in standard data set

                 4.9     Includes all batteries and disposal


                 The following information dictates the required deliverables and specifications for each resistivity service
                 tier:

                 4.10    Basic Resistivity Service in Memory

                               4.10.1   Compensated Correlation Resistivity Single Freq (either 500KHz, 1MHz or 2MHz)
                                        (as selected by COMPANy)

                               4.10.2 2 x phase shift and 2 x attenuation curves

                               4.10.3      Phase

                                        4.10.3.1 Depths of investigation: To be defined by COMPANY

                                        4.10.3.2 Range                      : 0-3000 ohm.m

                                        4.10.3.3 Accuracy             :+/- 3%

                                        4.10.3.4 Vertical Resolution: 1ft

                               4.10.4      Attenuation

                                        4.10.4.1 Depths of investigation: To be defined by COMPANY

                                        4.10.4.2 Range                      : 0-500ohm.m

                                        4.10.4.3 Accuracy             : +/- 4%

                                        4.10.4.4 Vert Resolution            : 6ft

                               4.10.5      Real-time and memory data for time lapsed logging.

                               4.10.6      SOBM environment

                               4.10.7      In Real-Time add-on

                 4.11    Intermediate Resistivity Service in Memory




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                               4.11.1   Compensated Correlation Resistivity Single Freq - Any two (defined by
                                        COMPANy) of 500 KHz, 1 MHz or 2MHz Resistivity frequency. (as selected by
                                        COMPANy)

                               4.11.2 4 x phase shift and 4 x attenuation (8 curves)

                               4.11.3 Phase

                                        4.11.3.1 Depths of investigation: To be defined by COMPANY

                                        4.11.3.2 Range                       : 0-3000 ohm.m

                                        4.11.3.3 Accuracy            :+/- 3%

                                        4.11.3.4 Vert Resolution             : 1ft

                               4.11.4      Attenuation

                                        4.11.4.1 Depths of investigation: To be defined by COMPANY

                                        4.11.4.2 Range               : 0-500ohm.m

                                        4.11.4.3 Accuracy            : +/- 4%

                                        4.11.4.4 Vert Resolution     : 6ft

                               4.11.5      Real-time and memory data for time lapsed logging.

                               4.11.6      SOBM environment

                               4.11.7      In Real-Time add-on


                 4.12    Advanced Resistivity Service in Memory

                               4.12.1   Compensated Correlation Resistivity Single Freq - Any two (defined by
                                        COMPANy) of 125 KHz, 250 KHz, 500 KHz, or 2MHz Resistivity frequency. (as
                                        selected by COMPANY)

                               4.12.2 All available phase shift and attenuation curves from the tool. (20 curves +)

                               4.12.3 Phase

                                        4.12.3.1 Depths of investigation: All Available

                                        4.12.3.2 Range               : 0-3000 ohm.m

                                        4.12.3.3 Accuracy            :+/- 3%

                                        4.12.3.4 Vert Resolution     : 1ft

                               4.12.4 Attenuation

                                        4.12.4.1 Depths of investigation: All Available




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                                        4.12.4.2 Range                : 0-500ohm.m

                                        4.12.4.3 Accuracy             : +/- 4%

                                        4.12.4.4 Vert Resolution      : 6ft

                               4.12.5 Real-time and memory data for time lapsed logging.

                               4.12.6 SOBM environment

                               4.12.7 In Real-Time add-on

                 4.13    Mutli-Depth, Dual frequency Resistivity Service in Memory

                               4.13.1   Real-time and memory data for time lapsed logging.

                               4.13.2 Multi Frequency

                               4.13.3 5718 - 14 1/2" hole size

                               4.13.4 In Real-Time add-on

                 4.14    At-Bit! Near Bit Resistivity for Geo-Stopping in Real Time & Memory

                               4.14.1   Bit-sensororreadingoffset: <3ft

                               4.14.2 Electrically-Conductive Drilling Fluids with resistivity ranging from 0.01 to 10 ohm-
                                      meters

                               4.14.3 Vertical resolution: 12-24in

                               4.14.4 Depth of Investigation: 12 in

                               4.14.5 Range 0-20000 ohm-m

                 4.15    Ring Laterolog resistivity in Real Time & Memory

                               4.15.1   Up and Down ReSistivity Boundary Mapping (Azimuthal Deep Res) - SERVICE
                                        NOT PROVIDED BY HALLIBURTON

                               4.15.2 Optional Extras - add-ons

                                        4.15.2.1 Azimuthal Measurements of Propogation resistivity Device

                                        4.15.2.2 Azimuthal (4 sector) Propogation

                                        4.15.2.3 Azimuthal (16 sector) Propogation

                                        4.15.2.4 Restivity HPHT

                                        4.15.2.4.1   Max Operating Temperature (High Temp Option) greater than 300°F
                                                     BHST (150 deg C) to 347 Deg F (175 deg C)

                                        4.15.2.4.2   Max Hydrostatic Pressure (High Press Option) Greater than 25,000
                                                     psi up to 30,000 psi



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                                        4.15.2.4.3   Both HP and HT options at the same time

                 4.16    Azimuthal Resistivity (4 sector) in Real Time & Memory

                               4.16.1   STANDARD Azimuthal (4 sector) Laterolog

                               4.16.2 Range 0.2 to 1,000 ohm-m

                               4.16.3 Accuracy below 2,000 ohm-m ± 5%

                               4.16.4 Accuracy above 2,000 ohm-m ± 20%

                               4.16.5 001: 1-7"

                               4.16.6 Vertical Res: 2-3"

                               4.16.7 Real-time and memory data for time lapsed logging.

                               4.16.8 WBM environment

                               4.16.9 Includes imaging sleeves - NOT PROVIDED BY HALLIBURTON

                               4.16.10 Azimuthal Measurements additional resolutions include:

                                        4.16.10.1    Resistivity, Azimuthal   (8 sector) Laterolog, Add-on in Real Time &
                                                     Memory

                                        4.16.10.2    Resistivity, Azimuthal   (16 sector) Laterolog, Add-on in Real Time &
                                                     Memory

                                        4.16.10.3    Resistivity, Azimuthal   (32 sector) Laterolog, Add-on in Real Time &
                                                     Memory

                                        4.16.10.4    Resistivity, Azimuthal (64 sector) Laterolog, Add-on Memory

                                        4.16.10.5    Resistivity, Azimuthal (128 sector) Laterolog, Add-on Memory

                 4.17    Ultra Deep Resistivity in Real Time in Real Time & Memory

                               4.17.1   Up and Down Resistivity Boundary Mapping

                               4.17.2 Real-time and memory data for time lapsed logging.

                               4.17.3 Range 0.2 to 1,000 ohm-m

                               4.17.4 Accuracy below 2,000 ohm-m ± 5%

                               4.17.5 Accuracy above 2,000 ohm-m ± 20%

                               4.17.6 001: 1-15'


                 5       ACOUSTICS




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                 5.1     Standard operating specifications for acoustic services (Sonic tools or Untra-Sonic Caliper tools)
                         are detailed below:

                               5.1.1   Max Operating Temperature up to 302°F BHST (150 deg C)

                               5.1.2   Max Hydrostatic Pressure up to 25,000 psi

                               5.1.3   Rotary Speed : Rated to 250 RPM; however, due to excessive wear and tear any
                                       damage caused above 220 RPM will be for COMPANY account.

                               5.1.4   Flow range optional    -

                               5.1.5   C02 and H2S Contents          :10% and 10 ppm

                               5.1.6   Drilling Dynamics survivability       30 minutes at design specification limit

                               5.1.7   All Drilling Dynamics provided where available in standard data set

                               5.1.8   Includes all batteries and disposal

                 5.2     Acoustic Caliper (Average) in Memory

                               5.2.1   Ultra-sonic Caliper in separate collar or in Nuclear or Sonic Tool 6 3/4" - 8" Collar
                                       size (Any hole size)

                               5.2.2   Real Time add-on

                               5.2.3   Range: 0 -2" over-gauge - Standoff range

                               5.2.4   Accuracy +/- 10% or +/- 0.1" (which ever is greater)

                               5.2.5   MW up to 13ppg

                               5.2.6   Azimuthal additional measurements include:

                                       5.2.6.1 Azimuthal Acoustic Caliper (Quadrant) in Real Time & Memory

                                       5.2.6.2 Azimuthal Acoustic Caliper (16 Sector) in Real Time & Memory:

                 5.3     Sonic in Real Time & Memory

                               5.3.1   4 3/4" - 9 1/2" Collar size (Any hole size)

                               5.3.2   Compressional Slowness Delta-T (40 - 2201Js/ft)

                               5.3.3   Measureltransmit shear vel. slowness with range: 60 - 550s/ft

                               5.3.4   Accuracy: ±21J seclft ilt compressional

                               5.3.5   Vertical Resolution: 2ft

                               5.3.6   All memory included

                               5.3.7   Correlation (Coherence) curve value in real time




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                                5.3.8    Multiple mode (STC) peaks streamed in real time

                                5.3.9    Full raw waveform recorded in Mem.


                 5.4     Optional extras include:
                               5.4.1   Pore pressure trend plot from sonic (in memory only)

                                5.4.2    Synthetic Sysmogram (service as specified requires compressional sonic log data

                                         as well as density log data over the same run intervals and are generated on a run

                                         by run basis)

                                5.4.3    Slowness time curve processing

                                5.4.4    Top of Cement detection

                                5.4.5    Shear

                                        5.4.5.1 DiPole Shear + processing

                                        5.4.5.2 Quadrapole Shear + processing

                                5.4.6    ACOUSTIC HPHT

                                        5.4.6.1 Max Operating Temperature (High Temp Option) greater than 300°F BHST
                                                (150 deg C) to 347 Deg F (175 deg C)

                                        5.4.6.2 Max Hydrostatic Pressure (High Press Option) Greater than 25,000 psi up
                                                to 30,000 psi

                                        5.4.6.3 Both HP and HT options at the same time


                 6       NUCLEAR SERVICES

                 All nuclear services will be subject to the following specifications:

                 6.1     Max Operating Temperature up to 302°F BHST (150 deg C)

                 6.2     Max Hydrostatic Pressure up to 25,000 psi

                 6.3     Rotary Speed   :Rated to 250 RPM; however, due to excessive wear and tear any damage
                         caused above 220 RPM will be for COMPANY account.

                 6.4     Flow range optional

                 6.5     C02 and H2S Contents            :10% and 10 ppm

                 6.6     Drilling Dynamics survivability30 minutes at design specification limit

                 6.7     Collar stabilized or slick

                 6.8     4 3/4" - 8 1/4" Collar size (Any hole size)



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                 6.9     All Drilling Dynamics provided where available in standard data set

                 6.10    When providing density image services (memory or real time image logs as standard deliverable
                         and included in rates up to requirements specified in the Scope of Work)

                 6.11    Pricing includes all sample rate configurations

                 6.12    Includes all batteries and disposal

                 6.13    Compensated Formation Density in Memory

                               6.13.1   Real-time add-on

                               6.13.2 Density (1.6 - 3.1 g/cc) compensated

                               6.13.3 Range: 1.6 - 3.1 glcc

                               6.13.4 Accuracy: +/-0.025 glcc

                               6.13.5 All acquisition rates included in rates

                               6.13.6 Vert Resolution: 6"

                               6.13.7 Azimuthal Measurements

                                        6.13.7.1 Azimuthal Density (Quadrant) compensated

                                        6.13.7.2 Azimuthal Density (16 sector) compensated

                 6.14    Photo-electric Factor (PEF) compensated in Memory

                               6.14.1   Real-time add-on

                               6.14.2 Pe factor operating range 1 - 20 8/e-

                               6.14.3 Pe factor measurement accuracy 3 ±0.25 8/e- (1 - 5 8/e-)

                               6.14.4 Vert Resolution: 6"

                               6.14.5 Sample rate: 5 seconds or less

                               6.14.6 Azimuthal options to PEF include:

                                        6.14.6.1 Azimuthal PeF (Quadrant) compensated

                                        6.14.6.2 Azimuthal PEF (16 sector and image) compensated

                                        6.14.6.3 PEF Caliper (16 sector and image)

                 6.15    Fully Compensated Neutron Porosity in Memory

                               6.15.1   Real-time add-on

                               6.15.2 Porosity (0 - 100 pu) thermally compensated



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                               6.15.3 Range: 0- 100 pu

                               6.15.4 Accuracy: 0.5 pu from 0-10 pu and 5% from 10-50 pu

                               6.15.5 Vert Resolution: 12"

                               6.15.6 All porosity sampling rates I configurations included in operating rates

                 6.16    Density Caliper Average in Memory

                               6.16.1   Real-time add-on

                               6.16.2 Image derived density

                               6.16.3 Azimuthal Measurements

                                        6.16.3.1 Up/Down

                                        6.16.3.2 4 sector

                                        6.16.3.3 16 sector

                 6.17    Neutron-Gamma Density in Real time and memory

                               6.17.1   Caliper corrected

                               6.17.2 Capture Spectroscopy (Elements, minerals, matrix properties)

                               6.17.3 Sigma


                 6.18    NUCLEAR ADDITIONAL ITEMS

                               6.18.1   RT or Post-well dip

                               6.18.2 Post-well structural zone, structural interpretation

                               6.18.3 Wireline retrievability of nuclear source - THIS SERVICE IS NOT PROVIDED BY

                                        HALLIBURTON

                               6.18.4 Orientating Sub

                               6.18.5 Nuclear HPHT

                                  6.18.5.1      Max Operating Temperature (High Temp Option) greater than 300°F BHST
                                              (150 deg C) to 347 Deg F (175 deg C)

                                  6.18.5.2      Max Hydrostatic Pressure (High Press Option) Greater than 25,000 psi up
                                              to 30,000 psi

                                  6.18.5.3      Both HP and HT options at the same time


                 7       SPECIALIST LWD



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                 7.1     All specialist LWD tools need to meet the following specifications:

                 7.2     Max Operating Temperature up to 302°F BHST (150 deg C)

                 7.3     Max Hydrostatic Pressure up to 20,000 psi

                 7.4     Rotary Speed   : Rated to 250 RPM; however, due to excessive wear and tear any damage
                         caused above 220 RPM will be for COMPANY account.

                 7.5     Flow range optional

                 7.6     C02 and H2S Contents           :10% and 10 ppm

                 7.7     Drilling Dynamics survivability30 minutes at design specification limit

                 7.8     Drilling Fluid Sand Content    : 1% (maximum)

                 7.9     All Drilling Dynamics provided where available in standard data set

                 7.10    Tool cost includes all Basic Pressure test charges independent of number

                 7.11    Tool costs inclusive of preplanning job

                 7.12    Includes all batteries and disposal

                 7.13    Formation Pressure While Drilling in Real Time & Memory (FPWD)

                               7.13.1 6 3/4" - 8 1/4" Collar size

                               7.13.2 No orientation required in hole sizes up to 15" diameter.

                               7.13.3 Pressure accuracy +/- 0.2% Full Scale

                               7.13.4 Tests up to 150 in RT and Memory

                               7.13.5 Drawdown pressure range 0-6000psi, variable.

                               7.13.6 Drawdown volume up to 25cc variable

                               7.13.7 Drawdown rate up to 10cc/s variable

                               7.13.8 Mobility Range: 0.1 mD/cP - 10 DlcP (field experience)

                               7.13.9 Mobility Accuracy: ±5%

                               7.13.10 Available from 8 1/2" to 17 1/2" hole sizes

                               7.13.11 10 minutes maximum disruption to drilling process per pressure test.

                               7.13.12 Basic Test: Single Draw Down, Preset Volume & Rate

                               7.13.13 Five (5) points transmitted in RT

                               7.13.14 Real-time pressure data sent within 0.1 psi resolution directly after test



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                               7.13.15 Quality assurance status transmitted as standard.


                 7.14    FPWD additional items

                               7.14.1    Optimized Test: Two (2) point variable Draw Down, Smart Mode

                               7.14.2 Annular pressure measurement before, during and after testing

                               7.14.3 Pumps-off measurements

                               7.14.4 FPWD HPHT

                                        7.14.4.1 Max Operating Temperature (High Temp Option) greater than 300°F BHST
                                                 (150 deg C) to 347 Deg F (175 deg C)

                                        7.14.4.2 Max Hydrostatic Pressure (High Press Option) Greater than 25,000 psi up
                                                 to 30,000 psi

                                        7.14.4.3 Both HP and HT options at the same time

                 7.15    Seismic Measurements While Drilling in Real Time & Memory               (Downhole   sensors   for
                         acquisition and first order processing)

                               7.15.1    63/4" - 9" Collar size

                               7 .15.2 30 hrs of memory available (14,000 waveforms)

                               7.15.3 Real-time waveforms for QC and look ahead

                               7.15.4 Real-time check-shot data

                               7.15.5 Recorded waveforms for look-ahead vertical seismic profiles (VSPs)

                               7.15.6 Real-time placement of well trajectory on surface seismic map, following SMWD
                                      check shot.

                               7.15.7 Resolution: 2mS

                               7.15.8 Waveform sampling interval: 2mS

                               7.15.9 SMWD HPHT

                                    7.15.9.1     Max Operating Temperature (High Temp Option) greater than 300°F BHST
                                                 (150 deg C) to 347 Deg F (175 deg C)

                                    7.15.9.2     Max Hydrostatic Pressure (High Press Option) Greater than 25,000 psi up
                                                 to 30,000 psi

                                    7.15.9.3     Both HP and HT options at the same time

                 7.16    Nuclear Magnetic Resonance Imaging in Real Time & Memory

                               7.16.1    8-1/2 to 10-5/8 inch hole tool (14 inch sensitive volume)




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                               7.16.2 operate for up to 200 hours

                               7.16.3 Real-time identification offree- and bound-fluid volumes

                               7.16.4 Total porosity, free fluid, bound fluid, permeability, T2LM (RT)

                               7.16.5 Mineralogy-independent porosity measurement in RT

                               7.16.6 Identification offree-fluid type: gas, oil or water

                               7.16.7 Dual wait time acquisition for hydrocarbon identification (RM)

                               7.16.8 T1 orT2 acquisition modes (fully programmable)

                               7.16.9 Real Time T2 distribution

                               7.16.10 Shell diameter 14 in. [356 mm]

                               7.16.11 Static vertical resolution 6 in. [152 mm]

                               7.16.12 Vertical resolution 3.9 ft at 100 ftlhr [1.2 m at 30 m1hr] with vertical stacking to
                                       achieve

                               7.16.13 Porosity accuracy ± 1 pu or ± 5%, whichever is greater

                               7.16.14 Max number of echoes 2000

                               7.16.15 NMR HPHT

                                     7.16.15.1 Max Operating Temperature (High Temp Option) greater than 300°F BHST
                                               (150 deg C) to 347 Deg F (175 deg C)

                                     7.16.15.2 Max Hydrostatic Pressure (High Press Option) Greater than 25,000 psi up
                                               to 30,000 psi

                                     7.16.15.3 Both HP and HT options at the same time




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                 8       SURVEYING

                 Full listing of COMPANY approved IPMs listed within the "A Guide 10 BP Tool Error Models" revision 4,
                 page 5, Appendix A. Find below a list of survey services and the minimum expectation of those services:

                                                                     Azimuthal
                                        Magnetic source reference    processin                      Special
                     Directional MWD              model                  g                       Service / Tool
                                                 IFR         IFR       Axial         Multi-
                                       BGGM     (CA)*     (IIFR)**   Correction     Station          SAG                  GYRO
                     MWO
                     MWO+SCC
                     MWO+CRUST                                                                                      ;,)             ......

                     MWO+CA+SC
                     MWO+IFR1&6
                     MWO+IFR+MS
                     GYRO+MWD+SS
                     7
                                         n/a         n/a    n/a          n/a

                     EMS
                     EMS+SAG
                     EMS+IFR1 &6
                                                                                                                                  . 8 .......
                     EMS+CRUST

                     North Seeking
                     Rate Gyro
                     services             Instrument delivery & environment        Gyro Mode                              Special
                                       Drop I   W/L in     W/L in     W/L in LID      Gyro          Gyro
                                        DP       DP         Csg         Csg         Compass       Continuous              Floater
                     GYD-GC-MS4
                     GYD-CT-CMS4
                     GYD-CT-DMS4
                     GYD-LiD-MS2 &4
                     GYD-BM-MS5                                                                                    ..   :... : ..
                     KPR-CSG-MS4
                     KPR-DP-MS
                                  L
                                                                                                       "           c.: . . :f . •••.•••
                     KPR-LiD-MS4

                     Other Gyro           Instrument delivery & environment        Gyro Mode                              Special
                                       Drop I   W/L in     W/L in     W/L in LID      Gyro      Optical/Surfac
                                        DP       DP         Csg         Csg         Compass         e Ref                 Floater
                     NS Gyro single
                     Shoe&5
                     KPR-SR-SS5                                                                        ,,:..                           ,
                                                                                                                                   ..:..


                     GYD-SS5
                     KPR-SS5




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                                                 I         I
                  Other Survey                Instrument Delivery
                                                                               in drilling
                                             Drop I DP         W/L in DP          BHA
                  Inc (Totco style)              '<I              '<I                                                  .iJi{'·>"
                  Inc (Teledrift style)                                            '<I                                 .}t ,;:~:"e.r~~


                              Static crustal anomaly, to BGS standard with Down continuation
                              Time dependant IFR (IIFR) to BGS standard wi Downward Continuation
                         1    Time dependant IFR (IIFR) to BGS standard wi Downward Continuation
                         2    18" ID or larger (Large Intemal Dimension - LID)
                         3    North Seek gyro in floater environment
                         4    Survey Depth Reference is W/L
                         5    Survey Depth Reference is Drill Pipe
                         6    Some Locations may have location dependant version IPM
                         7    IPM reference is only for the GYRO surveys, not the included MWD in the same BHA.


                 8.1     The MWD system specifications for surveying are detailed in this Appendix 6, Clause 1. (This
                         service does not include acquisition of aeromagnetic data or BGS transformation.)


                 8.2     The GMWD, Gyro Tool (:51.5 bps) system must provide the following data:

                                 8.2.1    Gravity Tool Face

                                 8.2.2    Gyro Tool Face

                                 8.2.3    Magnetic Tool Face

                                 8.2.4    Hole Inclination, accuracy ± 0.10

                                 8.2.5    Hole Direction, accuracy ± 0.5   0




                                 8.2.6    Tool Face, accuracy ± 1.5 0 (Update frequency 15 seconds or less)

                                 8.2.7    The Gyro MWD system shall be a high speed North Seeking Continuous Gyro
                                          system.

                                 8.2.8    Optically referenced Gyro tools are not acceptable.


                 8.3     NORTH SEEKING OR RATE GYROS Equipment Specifications (as contingency to MWD when
                         experiencing magnetic interference from adjacent well bores) are outlined below:

                                 8.3.1    CONTRACTOR shall supply a high accuracy North Seeking Gyro tool. The high
                                          accuracy gyroscopic tool shall be able to give continuous reading over the whole
                                          well-bore, consisting of complete in and out run data sets. At lower angles it may
                                          not be possible to operate in continuous mode with certain tools, the merits of this
                                          shall be considered by COMPANY in order to evaluate the use or limitations.

                                 8.3.2    Tool memory shall be capable of storing a minimum of 500 Survey Stations.




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                               8.3.3      Tool shall be supplied complete with the following equipment as a minimum:

                                       8.3.3.1    Sinker Bar Roller

                                       8.3.3.2    Centrollers

                                       8.3.3.3    Side entry sub
                                       8.3.3.4    Shock absorbers

                                       8.3.3.5    Running equipment including rope socket, spear point and retrieval
                                                  overshot

                               8.3.4      Add-ons include:

                                       8.3.4.1    Additional report charge per job (5 original + 3 IBM ANSCI II data discs) in
                                                  addition to standard report requirements listed in the Scope of Work

                                       8.3.4.2    Temperature sub

                                       8.3.4.3    Gamma Ray sub

                                       8.3.4.4    Casing Collar locator (CCl)

                                       8.3.4.5    Orienting sub

                                       8.3.4.6    Elevated bushing

                                       8.3.4.7    Template, Manifold, wellhead orienting sub and stinger

                                       8.3.4.8    Circulating head and pack off, cable inserts and rubbers

                                       8.3.4.9    Survey tool pup down sub (all applications)

                                       8.3.4.10   Wireline Unit Daily Rental - Diesel/Electrical driven, skid mounted, non
                                                  pressurized Zone II unit with electric single mono 5/16" conductor line (BP
                                                  200).

                                       8.3.4.11   Heat shield

                 8.4     Inclination tools Capable of drop, wireline operations (Totco style)

                               8.4.1      Capable to be run in drilling BHA (Teledrift style)

                               8.4.2      Provided with all operational and/or consumable equipment to perform survey
                                          operations

                               8.4.3      Measurement intervals (Inclination) no greater than 0.5 degree increments


                 9       ROTARY STEERABLE SYSTEMS

                 Standard Specs include:

                 9.1     Max Operating Temperature up to 302°F BHST (150 deg C)




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                 9.2     Max Hydrostatic Pressure up to 20,000 psi

                 9.3     C02 and H2S Contents           :10% and 10 ppm

                 9.4     Drilling Dynamics survivability30 minutes at design specification limit

                 9.5     Drilling Fluid Sand Content    : 1% (maximum)

                 9.6     Modular In-line RSS Stabilzer Flex or Standard inclusive

                 9.7     Downlink and RT Confirmation capability inclusive in all systems.

                 9.8     All Drilling Dynamics provided where available in standard data set

                 9.9     Operate from vertical

                 9.10    Mud: WBM, OBM, SOBM

                 9.11    Basic Directional Toolface, Magnetic Highside, Gravity Highside,

                 9.12    Excludes MVVD in specs.

                 9.13    Standard Hybrid I Push / Point the bit

                 9.14    Includes all batteries and disposal

                 9.15    4314 - 5 1/4" RSS (Excluding MWD)

                               9.15.1   S 3/4" - 6 3/4" Hole Size

                               9.15.2 Flow range: 220-400 gpm

                               9.1S.3      DLS: 8 deg/30m build rate

                               9.15.4 Rotary Speed: up to 250 RPM

                 9.16    63/4" RSS (Excluding MWD)

                               9.16.1   83/8" - 9 7/8" Hole Size

                               9.16.2 Flow range: 320-6S0 gpm

                               9.16.3 DLS: 6.5 deg/30m build rate

                               9.16.4 Rotary Speed: up to 250 RPM

                 9.17    81/4" RSS (Excluding MWD)

                               9.17.1   105/8" Hole Size

                               9.17.2 Flow range: 480-1500 gpm

                               9.17.3 DLS: 6.5 deg/30m build rate

                               9.17.4 Rotary Speed: up to 250 RPM



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                 9.18    9112" RSS (Excluding MWO)

                               9.18.1   121/4 -181/4" Hole Size

                               9.18.2 Flow range: 480-1900 gpm

                               9.18.3 DLS: 5 deg/30m build rate

                               9.18.4 Rotary Speed: up to 250 RPM

                 9.19    11.25" RSS (Excluding MWD)

                               9.19.1   16 - 26" Hole Size

                               9.19.2 Flow range: 480-1900 gpm

                               9.19.3 DLS: 3 deg/30m build rate

                               9.19.4 Rotary Speed: upt0200 RPM

                 9.20    Vertical ROTARY Steerable devices can be a reconfiguration of the tools above to drill in vertical
                         mode or additional tools detailed below:

                               9.20.1   6 3/4" RSS (Excluding MWO)         83/8" - 9 7/8" Hole Size

                               9.20.2 9 1/2" RSS (Excluding MWO)           12114 - 143/4" Hole Size

                               9.20.3 91/2" RSS (Excluding MWO)            16 - 28" Hole Size

                               9.20.4 Tool must be able to retain verticality to within 1.0 degrees of vertical.

                 9.21    Perfonmance MTR + RSS

                               9.21.1   43/4 - 11 1/4" RSS (Excluding MWO configuration or pricing)

                               9.21.2 Perfonmance Rotary Steerable devices are tools with an additional modumar
                                      motor. As such the specifications for the Rotary Steerable tools are as above:

                               9.21.3 Full bi-directional communication through the MTR (hard wired)is an additional
                                      service that may be utilized.

                 9.22    Low Cost/Limited Service RSS

                               9.22.1   Restricted service, limited functionality rotary steerable tool for cost effective 3-
                                        Dimensional directional drilling.

                               9.22.2 63/4" RSS (Excluding MWO) - 83/8" - 9 7/8" Hole Size

                               9.22.3 8" RSS (Excluding MWO)         -12" - 143/4" Hole Size

                 9.23    Hostile Environment RSS

                               9.23.1   Higher dog-leg, harsher drilling environment rotary steerable system

                               9.23.2 Abrasive, hot and high-shock locations



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                               9.23.3 Openhole sidetracking in over-gauge hole and soft formations with the reduced
                                      dependence of the steering principle on well-bore contact

                               9.23.4 Bi-center bits     functionality   for   directional   drilling   with   minimal   well-bore
                                      dependence.

                 9.24    Rotary Steerable additional options include:

                               9.24.1   HP - 30000 psi

                               9.24.2 Automatic Inclination Hold Mode

                               9.24.3 Near Bit Inclination continuous RT (3Ft)

                               9.24.4 Azimuthal Near Bit Gamma (4Ft)

                               9.24.5 Near Bit Gamma (4Ft)

                               9.24.6 Computer controlled Non-intrusive Down-link (no interruption to drill at alQ




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                 10      MOTORS

                 10.1    Directional motor specifications will be compiled in CONTRACTOR's response in the Schedule of
                         Rates and Charges. As a guide some specifications have been detailed below so technical
                         offerings can be compared across Proposing Parties:




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                 10.2    Additional Items

                               10.2.1    Sleeves

                               10.2.2 Instrumented motors with:

                                        10.2.2.1 Near-bit inclination (rotating and sliding)

                                        10.2.2.2 Resistivity & Gamma Ray near bit

                                        10.2.2.3 Resistivity measurements available in either oil-base or water-base muds

                                        10.2.2.4 Azimuthal gamma ray, providing high-side and low-side measurements

                                        10.2.2.5 Real-time and memory data acquisition

                               10.2.3 High durometer elastomer - Nitrile Butadiene Rubber. The durometer of the stator
                                      rubber is 90.

                 10.3    All Motor prices must include:

                               10.3.1 All Pricing to include Cargo Baskets, slings, and thread protectors

                               10.3.2 Bend housing independent of setting or range



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                               10.3.3 Nonnal Flow/High Flow Configurations

                               10.3.4 Rotor Catcher

                               10.3.5 No string or conventional near bit stabilizers

                               10.3.6 configured with Near bit, middle and top motor stabilizers

                               10.3.7 All tool pricing must include X/Overs to string connections

                               10.3.8 Open or sealed Bearings


                 11      CONTRACTOR's SERVICES COORDINATOR shall be considered competent in the following
                         skills on all COMPANY facilities:

                         11.1 Evaluate pre-well planning to ensure safest well trajectory has been planned, and that all
                              tools required to achieve trajectory are included in well plan.

                         11.2 Are properly trained in HSE competencies, and are certified by COMPANY recognized
                              authority to travel and to work at the VVORKSITE.

                         11.3 Are competent in the safe supervision of bottom hole assemblies, sub assemblies and drill
                              string construction.

                         11.4 Are trained in the use of all well planning, anti-collision, drilling engineering and survey
                              management software utilized in the well-bore construction process.

                         11.5 Are competent in the interpretation of all rig sensors and their implications on the drilling
                              process.

                         11.6 Are competent to recommend drilling parameters associated with the well construction
                              process. These include WOB, pump pressure, RPM, allowable pickup and slack off loads
                              with respect to buckling and surveying JORPs.

                         11.7 Are competent in the assessment of well-bore design in order to recommend design
                              features that shall enhance the safe, efficient delivery of the well construction process.

                         11.8 Have enhanced competencies in the area of trajectory design, drill string design, bit
                              selection, and specialty product applications.

                         11.9 Are competent in the assessment of Directional Drillers and MWD/LWD Engineers in order
                              to identify opportunities for personal and professional growth.

                         11.10 Are competent in trouble shooting technical problems that may arise at the WORKSITE.

                         11.11 Evaluate trajectories to ensure sufficient magnetic isolation is accounted for in BHA design.

                         11.12 Are trained and tagged for work with nuclear sources, and promotion of safe handling
                               practices at the WORKSITE.

                         11.13 Are competent in the interpretation of all logs acquired and able to QC logs prior to
                               dispatch to COMPANY.




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                 11.14   CONTRACTOR's Directional Drillers (Lead or otherwise) shall be competent to carry out the
                         following on COMPANY designated WORKSITES:

                         11.14.1 Evaluate pre-well planning to ensure safest well trajectory has been planned, and that all
                                 tools required to achieve trajectory are included in well plan.

                         11.14.2 Are properly trained in HSSE competencies, and are certified by COMPANY recognized
                                 authority to travel and to work offshore.

                         11.14.3 Are competent in the safe supervision of bottom hole assembly, sub assembly and drill
                                 string construction.

                         11.14.4 Are trained in the use of all well planning, anti-collision, drilling engineering and survey
                                 management software utilized in the well-bore construction process.

                         11.14.5 Are competent in the calculation of well-bore position and its relevance to any adjacent
                                 wells.

                         11.14.6 Are competent in the interpretation of all rig sensors and their implications on the drilling
                                 process.

                         11.14.7 Are competent to design all bottom hole assemblies and recommend drilling parameters
                                 associated with the well construction process. These include WOB, pump pressure,
                                 RPM, allowable pickup and slack off loads with respect to buckling.

                         11.14.8 Are competent to efficiently operate and maximize the operation all down hole drilling
                                 systems such as positive displacement motors, rotary steerable systems, third party
                                 adjustable gauge stabilizers and other such downhole drilling system.

                         11.14.9 Are competent to select the correct drill bit for any specific application, BHA drive and
                                 drilling environment

                 11.15   CONTRACTOR's DESC - Directional Drilling Engineer I Well Planner shall be considered
                         competent in the following skills on all COMPANY facilities;

                               11.15.1 Are properly trained in HSSE competencies

                               11.15.2 Are competent to conduct the following engineering analyses:

                                      11.15.2.1 Well planning and trajectory design

                                      11.15.2.2 BHA design and optimization

                                      11.15.2.3 Torque and Drag modeling of BHAs, Drill Stings and Casing Strings

                                      11.15.2,4 HydrauliCS for hole cleaning, pressure prediction and bit optimization

                                      11.15.2.5 Drillstring vibration mitigation and management

                                      11.15.2.6 Well-bore anti-collision and conductor slot utilization

                                      11.15.2.7 Well-bore survey procedures & JORPs

                                      11.15.2.8 Maintenance of directional drilling and survey data on COMPANY
                                                database



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                 11.16   CONTRACTOR's LWD/MWD Supervisors shall be considered competent in the following skills
                         on all COMPANY facilities:

                               11.16.1 Are properly trained in HSE competencies and are certified by COMPANY
                                       recognized authority to travel and to work offshore.

                               11.16.2 Evaluate trajectories to ensure sufficient magnetic isolation is accounted for in BHA
                                       design.

                               11.16.3 Are trained and tagged for work with nuclear sources, and promotion of safe
                                       handling practices at the WORKSITE.

                               11.16.4 Are competent in the interpretation of all logs acquired and able to QC logs prior to
                                       dispatch to COMPANY.

                               11.16.5 Are competent in trouble shooting technical problems that may arise at the
                                       WORKSITE.

                               11.16.6 Are competent to use the First Alert reporting process to close out failures in a
                                       timely manner.




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                                                        D. Wire line Services




                                                       D. Wireline Services


                          ALL FUNCTIONAL AND TECHNICAL SPECIFICATIONS, AS WELL AS THE
                          STATEMENT OF REQUIREMENTS ARE FOUND IN THE SCHEDULE OF RATES
                          AND CHARGES




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                                                              E. Completions


                            Part 1 - Tubing Conveyed Perforation (TCP) I Drillstem Testing (DST)

                 1.0 INTRODUCTION

                        These are the functional and technical specifications for TCP I DST for Gulf of Mexico (GoM). For
                        TCP, CONTRACTOR shall provide the equipment capable of performing perforating services that
                        cover both offshore and land work using any conveyance - tubing conveyed, wireline, and / or
                        coiled tubing systems for the following rig operations:

                        •      Rotary Rig Operations
                        •      Workover and Pulling Unit Rig Operations
                        •      Coiled Tubing Drilling Operations
                        •      Well Services Coiled Tubing Operations


                        1 .1   System Description

                               CONTRACTOR shall provide TCP services as detailed herein comprising, but not limited to,
                               the provision of all necessary well site management, support, and engineering expertise,
                               office and rig site personnel, equipment, tools, spare parts, consumables, and other items
                               necessary for the performance of the WORK described herein during COMPANY's drilling
                               and well operations. DST type services shall amount to brief flow periods and bottom hole
                               pressure measurements, associated with underbalanced perforating, or "perforate-and-
                               surge" TCP operations. The equipment and services will likely comprise, but are not
                               necessarily be limited to:

                               1.1.1   Tubing conveyed perforating guns (Various gun sizes, charge type, and shot
                                       densities).

                               1.1.2   Safe and secure transportation and handling of all explosive material and TCP
                                       related equipment, tools and accessories.

                               1.1.3   All necessary tools and handling equipment for the safe arming and disarming of all
                                       explosive material at COMPANY'S designated WORKSITE.

                               1.1.4   All necessary tools and handling equipment for the make-up of TCP guns,
                                       perforating packer and downhole test valve(s) assemblies at COMPANY's
                                       deSignated WORKSITE.

                               1.1.5   Downhole test assemblies (e.g., packers, test valves, BHP gauge carriers, bundle
                                       carriers, and other downhole components).

                               1.1.6   Drop bar, absolute pressure, differential pressure, and redundant firing heads.

                               1.1.7   Surface production equipment, flowheads, manifolds, tanks, etc.

                               In addition the following extra services may be required and shall include all equipment
                               necessary for providing the following services:




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                              1.1.8   Surging of the perforations. This may be on the same trip as perforating or may be a
                                      separate (subsequent) trip.

                              1.1.9   Perforating and sand control pumping on the same trip.


                        1.2   Typical Core Job Requirements

                              Production wells will be completed with Cased Hole Frac Packs (CHFP) I Gravel Packs
                              (CHGP) or Open Hole Gravel Packs (OHGP). Well productivity requirements for the cased
                              hole completions often dictate high shot densities.       To facilitate effective well bore
                              connectivity, COMPANY prefers to perforate underbalanced where the risk of sticking guns is
                              manageable. In high risk circumstances, wells are often perforated slightly over Ion balance,
                              the guns retrieved above the perforated interval, and the well surged via circulating in a
                              predetermined underbalance (typically 20 to 50 bbls at approximately 2 bpm).

                              TCP operations must prioritize safety and environmental performance during all phases from
                              initial preparation through to equipment demobilization. The objective is to achieve:

                              1.2.1   Safe and efficient operation to maximize well productivity without any environmental
                                      incidents or spills.

                              1.2.2   Obtain effective well bore to reservoir communication.

                              1.2.3   Collect all necessary data to control and optimize reservoir performance and
                                      completion quality.


                 2.0    TCP EQUIPMENT AND SUPPORT REQUIREMENTS

                        Equipment, services, and personnel required for TCP services shall comprise, but not necessarily
                        be limited to:

                        2.1   Provide and maintain a legally compliant storage magazine and gun loading facility that
                              meets or exceeds all applicable regulations.

                        2.2   Safe and secure transportation and handling of all explosive material and TCP related
                              equipment, tools, and accessories.

                        2.3   All necessary tools, auxiliary equipment, and handling equipment for the safe arming and
                              disanming of all explosive material at COMPANY's WORKSITE.

                        2.4   Knowledge of appropriate fishing tools and fishing safety procedures for explosives shall be
                              required on-site at all times.

                        2.5   All necessary tools and handling equipment for the make-up of TCP gun, perforating packer,
                              and downhole test valve(s) assemblies at COMPANY's WORKSITE.

                        2.6   Transport and disposal of all explosive materials, including but not limited to, misfired,
                              flooded, fished, old stock, damaged, unloaded charges, remnants, and excess stock.

                        2.7   Downhole test assemblies (e.g., packers, test valves, BHP gauge carriers, bundle carriers,
                              and other downhole components).

                        2.8   Drop bar, absolute pressure, differential pressure, and redundant firing heads.



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                              2.9    Surface production equipment, flowheads, manifolds, etc.

                                     In addition, the following extra services may be required and shall include all equipment
                                     necessary for providing the following services:

                              2.10 Surging of the perforations.    This may be on the same trip as perforating or may be a
                                   separate (subsequent) trip.

                              2.11   Perforating and sand control pumping on the same trip.


                 3.0          TCP EQUIPMENT AND SERVICES SPECIFICATIONS

                              The following table details the surface testing equipment for the planned well testing and clean-up
                              services.

                 .J;!{l;;I~                                          /!;.<. ~                          ·I.t:.'   l:J., • :j;;;Y·.\l");i\;;;;i::
                                                                           Appropriately sized bore 15,000 psi working pressure,
                                                                           nominal 1.2 million Ibs tensile rating at full working
                                                                           pressure, wing valve(s) with a minimum 15,000 psi
                   1          Tubing Conveyed Perforating Head             working pressure, 1502 unions, integral swivel rated
                                                                           for rotation at working pressure, remote controlled
                                                                           valves which fail safe closed before wing outlets,
                                                                           remote controlled master valve upstream of swivel.
                                                                           15,000 psi working pressure, nominal 1.2 million Ibs
                                                                           tensile rating at full working pressure, crossover to be
                              Tubing Conveyed Perforating Head
                  2                                                        made-up to TCP head at CONTRACTOR's facility and
                              Crossover to Workstring
                                                                           tested to COMPANY required pressure rating priorto
                                                                           mobilization to WORKSITE.
                                                                           Appropriate diameter for required service (typically
                                                                           2"), 15,000 psi working pressure, 1502 connections,
                   3          Surface Iron                                 adequate length, chiksans to provide required
                                                                           flexibility for workstring movement, connect to TCP
                                                                           manifold and rig systems.
                                                                           2" minimum nominal bore, 15,000 psi working
                                                                           pressure upstream, H 2 S rating if required by
                                                                           COMPANY, one (1) adjustable choke up to 2" orifice,
                                                                           one (1) fixed choke with a complete set oftungsten
                  4           Choke Manifold
                                                                           carbide and ceramic inserts, provisions to use fixed
                                                                           chokes in both wings (where appropriate), upstream
                                                                           and downstream pressure gauges, including a
                                                                           minimum of two, Y:," NPT connections.
                   5          Open Top Catch Tank                          200 bbl capacity.

                 Note:
                 All equipment must comply with the relevant lifting requirements specified by COMPANY.
                 CONTRACTOR shall provide appropriate crossovers to COMPANY workstring.


                                                                           Nominal casing sizes ranging from 5" to 13 3/8",
                              Retrievable Packers                          complete with hydraulic by-pass, hydraulic hold-down
                                                                           sli s, crossovers to workstrin .




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                  2           Upper and Lower Packer Safety Joint                                                         Complete with crossovers.
                                                                                                                          If not already covered as an integral part of retrievable
                  3           Packer Bypass or Circulating Joint
                                                                                                                          packer and upper and lower packer safety joint.
                  4           Hydraulic Jars                                                                              Complete with crossovers.
                  5           Radioactive Marker Subs                                                                     Full bore subs.
                                                                                                                          Complete with hydraulic reversing I pressure testing
                              Multiple Operating Reversing and                                                            reference assembly and valve pressure testing subs,
                  6
                              Circulation Valve                                                                           drain valves for all potential trapped pressure shall be
                                                                                                                          provided.
                  7          Slip Joints                                                                                  Complete with crossovers.
                             Single Shot Reverse Circulating Valve
                                                                                                                          Complete with crossovers, shear pins and I or shear
                  8          Or Reverse Circulating Valve with Ball
                                                                                                                          discs, pressure test subs, and control mandrel(s).
                             Valve Isolation
                             Perforated Anchor for Single Trip
                  9                                                                                                       Complete with crossovers.
                             Perforate and Pack
                                                                                                                          Single shot valve that allows self-filling and string
                  10          Self-fill Tubing Tester Valve
                                                                                                                          pressure testing.
                                                                                                                          Single shot valve for pressure testing string, shear
                  11          Shear Open Pipe Tester Valve                                                                operation opens valve.
                                                                                                                          15,000 psi minimum working pressure, 275 degrees
                              Bottom Hole Pressure and
                  12                                                                                                      Fahrenheit working temperature, quartz gauges,
                              Temperature Gauges
                                                                                                                          minimum memory capaCity of 1 million data sets.
                                                                                                                          15,000 psi minimum working pressure, 275 degrees
                              Fast Gauges (Bottom Hole Pressure
                  13                                                                                                      Fahrenheit working temperature, quartz gauges,
                              and Temperature)
                                                                                                                          minimum sample rate of 1,000 points per second.
                                                                                                                          15,000 psi minimum working pressure, H2 S rating,
                  14          Gauge Carriers
                                                                                                                          complete with crossovers and pressure testing subs.
                                                                                                                          Adequate gauge operating power for a minimum
                                                                                                                          period of fifteen (15) days and up to 275 degrees
                  15          Batteries
                                                                                                                          Fahrenheit working temperature, full back-up is
                                                                                                                          required.



                                                                                                                               Various sizes and types, 15,000 psi minimum
                                                                                                                               working pressure to meet field specific
                                                                                                                               requ irements.
                  2        Firing Heads (Mechanical, Annulus                                                                   15,000 psi minimum working pressure to meet
                           Pressure, Tubing Pressure Activated,                                                                field specific requirements, vendor shall be able
                           Wireline)                                                                                           to run any combination of tiring heads as primary
                                                                                                                               and back-up.


                 4.0         PERSONNEL

                            Fully trained, certified personnel shall be provided to perform the WORK in accordance with the
                            TCP f DST scope. Personnel are required to be capable of operating, testing, troubleshooting, and
                            repairing their equipment. CONTRACTOR shall provide COMPANY with a single point contact for
                            all TCP I DST operations. CONTRACTOR responsibilities shall be performing or participating in:

                            4.1           planning and generation of well specific and project specific TCP and DST programs
                                          including computer simulated perforating performance.



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                        4.2   on-site personnel adequate for 24 hour operations.

                        4.3   operational coordination between COMPANY's local offices and WORKSITE.

                        4.4   project planning.

                        4.5   process re-engineering, technical limits evaluations, and risk assessments.

                        4.6   generation of cost estimates for required TCP and DST services.

                        4.7   typical core job requirements.

                        CONTRACTOR on-site personnel must have an in-depth knowledge of the surface equipment,
                        downhole tools, firing systems and guns. COMPANY reserves the right to request Curriculum
                        Vitae for CONTRACTOR personnel.


                 5.0    DATA ACQUISITION AND REPORTING SERVICES

                 The following table details the data acquisition and reporting services for the planned TCP and DST
                 services.



                   1    Downhole Data Collection, Recording,         Record all bottom hole gauge data and deliver to
                        and Processing                               COMPANY in a timely manner.
                   2    Data Reports                                 A full report covering equipment and operations,
                                                                     induding data collection, hard and electronic copies
                                                                     (MS Word, Excel and Adobe Acrobat), CD-R media,
                                                                     suitable format to enable WORKSTIE transmission via
                                                                     the data transmission services provider.


                 6.0    REFERENCES

                        ISO 11960 (API Spec SCn:       Petroleum and natural gas industries - Steel pipes for use as casing
                                                       or tubing for wells.

                        ISO 14310 (API Spec 11D1): Petroleum and natural gas industries - Downhole equipment-
                                                   packers and bridge plugs.

                        NACE MR-01-75:                 Sulfide stress cracking resistant materials for oilfield equipment.

                        API Specification 6A718:       Specification of Nickel Base Alloy 718 (UNS N077i8) for Oil and
                                                                                                 st
                                                       Gas Drilling and Production Equipment. 1 Edition March 2004*.

                        * - Note In addition to the requirements of API Spec 6A718, COMPANY has a further requirement
                        that the minimum total hot work reduction ratio shall be 4:1 and not 3.75:1 as per Section 4.1.3.1 of
                        AP16A7i8.

                        BP References:

                        GIS 02-201:        Specification for OCTG Seamless Casing & Tubing (Standard Grades).




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                        GIS-02-203:        Specification for OCTG Crossover Connectors.

                        GIS-02-204:        Specification for OCTG Sour Resistant Grade C11 0 Low Alloy Steel OCTG
                                           Seamless Casing.

                        GIS-02-205:        Specification for Duplex and Super Duplex 25% Chrome Stainless Steel
                                           Seamless Pipe.

                        GIS-02-206:        Specification for Duplex and Super Duplex 25% Chrome Stainless Steel
                                           Seamless Pipe.

                        BP-EPT-IAS-01:     Integrity Assurance Specification - For the Procurement of Critical equipment
                                           for Drilling and Completions.

                        For undated references, the latest edition of the normative document referred to applies.


                 7.0    DEFINITIONS AND ABBREVIATIONS

                        For the purposes of this Part 1 - Tubing Conveyed Perforation (TCP) f Drillstem Testing (DST), the
                        following definitions and abbreviations will apply:

                        bbl:              Barrel
                        BHP:              Bottom Hole Pressure
                        bpm:              Barrels Per Minute
                        CHFP:             Cased Hole Frac Pack
                        CHGP:             Cased Hole Gravel Pack
                        DST:              Drillstem Testing
                        FLCV:             Fluid Loss Control Valve
                        GoM:              Gulf of Mexico
                        GP:               Gravel Pack
                        Ib:               Pounds
                        OHGP:             Open Hole Gravel Pack
                        psi:              Pounds per Square Inch
                        QA:               Quality Assurance
                        QC:               Quality Control
                        TCP:              Tubing Conveyed Perforation




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                                                   Part 2 - Offshore Sand Face Pumping

                 1.0    INTRODUCTION

                        These are the functional and technical specifications for Offshore Sand Face Pumping Services.

                        1 .1   System Description

                               The development wells will require a range of different lower completion types.          Further
                               details can be found in Part 6 - Well-Bore Information for representative well types.


                        1.2    Lower Completion Description

                               The list below is a summary of the potential lower completion types.

                               1.2.1     Producers:

                                         (a)     Cased Hole Frac Pack (CHFP)

                                         (b)     Cased Hole Gravel Pack (CHGP)

                                         (c)     Dual zone Gravel Packs (Lower Zone Open Hole and Upper Zone Cased)

                                         (d)     Cased Hole High Rate Gravel Pack.

                                         (e)     Cased Hole High Rate Water Pack

                                         (f)     Cased and Perforated (C&P)

                                         (g)     Open Hole Gravel Pack (OHGP)

                                         (h)     Expandable Completion (EC)

                               1.2.2     Injectors (water f gas):

                                         (a)     Cased Hole Frac Pack (CHFP)

                                         (b)     Stand Alone Screens (SAS)

                                         (c)     Expandable Completion (EC)

                                         (d)     Cased Hole Gravel Packs (CHGP)

                                         The majority of lower completions are expected to be CHFP. There may be some
                                         CHGP applications. Both SAS and ECs shall have the capability to accommodate
                                         Open Hole Zonal Isolation (OHZI) and Downhole Flow Control (DHFC).


                 2.0    PUMPING EQUIPMENT AND SUPPORT REQUIREMENTS

                        2.1    General




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                                   The equipment, materials, and support services described below are intended to cover
                                   OHGP, CHGP, CHFP, and SAS completion types. Further requirements for each of these
                                   lower completion types are detailed herein.


                             2.2   Pumping Equipment

                                   Pumping equipment, and associated auxiliary equipment, required for gravel placement in
                                   open hole gravel packs (OHGP), cased hole gravel packs (CHGP) and cased hole frac packs
                                   (CHFP) shall be either skid or vessel based. Skid based pumping equipment shall be
                                   optimized to reduce foot print requirements on the rig. Vessel based pumping operations
                                   shall be independent of the rig with the exception of the treating hose interface. Equipment
                                   required consists of, but is not limited to the following:

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                                                                                                                                   '·.·i;,Tc~,   .. ·
                     1       Treating Iron                              15,000 psi working pressure, 1502 unions,
                                                                        appropriately sized for pump rate.
                     2       Coflexip Hose                              All coflexip hoses compatible with 1502 iron
                                                                        unions and 15,000 psi working pressure,
                                                                        with quick disconnect capability.
                     3       Fluid Storage Tanks*                       200 - 400 bbl volume, 4.0" and 8.0" suction
                                                                        capability, circulating line, fluid level indicator
                                                                        system, fluid sump to minimize tank bottoms.
                     4       Sand Silo with unmanned bag cutter         100,000 Ib capacity, low profile, safe loading
                                                                        option (preference for system that does not
                                                                        require working at height).
                     5       Suction and Discharge Hose                 With transportation basket.

                     6       Slurry Return Tank                         100 bbl volume minimum, gravel separation
                                                                        facility, graduated for volume measurement,
                                                                        flushing facilities for residual gravel.
                     7       Liquid Additive Storage Tanks              Stainless steel tank or tank lined with inert
                                                                        material, adequate for the job size.
                     8       Pump-in Sub                                15,000 psi working pressure, 1502 unions with
                                                                        integral swivel.
                     9       Frac Head                                  10,000 psi or 15,000 psi working pressure,
                                                                        1502 unions with integral swivel, minimum of
                                                                        1.2 million Ibs tensile load rating, minimum of
                                                                        one (1) hydraulic actuated master valve,
                                                                        minimum of two, 3" side entry connections.
                   10        Ball Catcher (where necessary for          15,000 psi working pressure, 1502 unions.
                             reversing packer setting ball)
                   11        Gravel pack I Frac pack Manifold           Appropriately sized for expected pump / flow
                                                                        rate, 15,000 psi working pressure, 1502 unions.
                   12        Ball Dropping Sub (packer setting ball)    15,000 psi working pressure, 1502 unions.

                   13        Polymer Shearing Device                    Minimum throughput 8 bpm.

                   14        Acid Transport Tanks                       Appropriately sized tanks, lined, integral unions.


                 Note: All equipment must comply with the relevant lifting rules specified by COMPANY. All preventive
                 maintenance certifications shall be up to date at time of service. All items except for Items 2, 4, 7, and 12
                 shall be provided by a Third Party.



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                 * Tanks shall to be fit for purpose and may need to be Polyurethane, Steel, or Stainless Steel.


                        2.3    On-Site Monitoring and Data Acquisition

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                  1    Monitoring Cabin                                            100% redundant data acquisition systems.

                  2     High Pressure Flow Meters                         15,000 psi, 1502 unions, Mag or Turbine, appropriately
                                                                          sized for pump rate.
                  3     Low Pressure Return Line Flow Meter               1502 unions, Mag orturbine, appropriately sized for
                                                                          flow f pump rate.
                  4     High Pressure Densitometer (Main                  15,000 psi, 1502 unions, 100% redundancy, calibrated
                        Treating Line)                                    prior to operations.
                  5     Low Pressure Densitometers                        Blender density line, return line density, calibrated prior
                                                                          to operations.
                  6     Communication Systems                             Radios for vessel and rig personnel, with backup
                                                                          radiOS, batteries, chargers, to maintain adequate
                                                                          communication.
                  7     Fluid QA I QC Lab                                 Viscosity measurement, pH, specific gravity, acid
                                                                          titration (see Note 1 below).
                  8     Equipment for Remote Data Transfer                Adequate to allow real-time interaction with operation
                        Capability                                        (see Note 2 below).
                  9     In-Line Viscosity Meter                           Adequate to determine base gel loading.


                 Note 1: The on-site fluid QA I QC Lab minimum equipment requirements are as follows:
                             Fann-50 or equivalent, (i.e., Brookfield, Chandler) pressurized viscosity meter(500 - 1,000
                             psi), Temperature to 250 degrees Fahrenheit
                             Fann 35 (Ambient viscosity) viscosity meter
                             Water Analysis Kit (Ca, Fe, pH, Specific Gravity)
                             Heated Water Bath
                             Sand Settling Testing at Temperature
                             Sand Sieve Analysis Equipment
                             Break Time Analysis Equipment
                             Sand Screen Mud Flow Through Tester - 1 liter capacity (i.e., Baroid HP I HT cell)
                             Qualified Lab Technician

                 Note 2: The data acquisition system shall be capable of recording and displaying typical operating
                        parameters required in gravel f frac packing operations. These include, but are not limited to, the
                        following:
                         - Workstring or tubing and annulus pressures, pump-in I flow back rates, fluid f slurry density
                         - Liquid add rates, volumes, in-line pH
                         - Surface viscosity, temperature.


                               2.3.1    Additional measurements, include but are not limited to;

                                               Weight loss in sand silo as a function oftime
                                               Liquid additive volumes as a function oftime

                               2.3.2    Additional requirements of CONTRACTOR are to:




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                                                          Provide timely merged surface and downhole gauge data (pressure and
                                                          temperature) to COMPANY engineers.
                                                          Perform Remote Data Transfer onto COMPANY intranet.
                                                          Adequate redundancy (Le., 100% of critical systems).
                                                          Real-time maximum allowable surface treating (workstring) pressure
                                                          calculation based on integrated density measurement (calculation of workstring
                                                          hydrostatic in real-time) and workstring and annulus pressure measurements.
                                                          Real-time net pressure as a function of treating time (i.e., Nolte-Smith plot)
                                                          display in control cabin.
                                                          Display of data shall be available on rig floor, at WORKSITE Leader's office,
                                                          and in COMPANY's onshore office.


                                       2.4   Blending Equipment

                  1('::'i                                      " ~•. '~'~.:;r /b~t0'                                        ..'~·i·"' ..."'.'
                                                                                                                                         .,;ii'';'';.,   ,;;.;   ;"
                     1                 Fracturing Blender(s) 50 bpm, 12 ppa, dry additive functionality,
                                                             appropriate hoses / fittings to perform
                                                             operations.
                   2  Gravel Pack Blender                    Blending rates of 2 - 15 bpm, 0.5 - 15 ppa,
                                                             appropriate hoses / fittings to perform
                                                             operations with either viscous or non-viscous
                                                             fluids.
                   3  Batch Blender*                         Stainless steel, capacity of 50 bbls or more,
                                                             appropriate hoses / fittings to perform
                                                             operations.
                   4  Chemical Additive System               Individually metered, low rate and high rate
                                                             additive pumps, 100% backup of critical
                                                             additives (i.e., crosslinker, breaker, buffer, etc).
                   5  Centrifugal Pump Skid                  Capable of 20 bpm clean rate fluid transfer,
                                                             appropriate hoses / fittings to perform
                                                             operations.
                 * CONTRACTOR's vessels are equipped With a 50 bpm fractUring blender rather than a batch blender.


                                       2.5   Skid Based Pumps

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                      1                OHGP Pumps                                      Minimum 500 HHP, 1502 treating iron.
                      2                Fracturing Pumps                                HHP rating based on treatment deSign, 1502
                                                                                       treating iron.


                                       2.6   Pumping Vessel




                     2                 Fracturing Pumps                                HHP rating based on treatment design, 1502
                                                                                       treatin iron.




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                                     2.6.1             The dynamically positioned stimulation pumping vessel shall be capable of providing
                                                       a stand alone service independent from the rig. Vessel shall be capable of providing
                                                       miscellaneous pumping services in addition to the operations discussed herein.

                                     2.6.2             CONTRACTOR shall provide the rig based hose hanger and associated equipment
                                                       to ensure Simple, efficient rig-up to the hanger and to the workstring. Coflexip quick
                                                       disconnect system is required.

                                     2.6.3             Pumps shall be remote operated from the monitoring cabin and have an over-
                                                       pressure shut down system integral to pump control system.


                           2.7       Fluids and Gravel

                                     It is anticipated that the following fluids may be used for any job. The list is not exhaustive
                                     but covers the majority of fluids that are likely to be used. The sand face completion fluids
                                     employed will be field and well specific.

                  h,:~,;                                                                         :."                         ./;!•. ,,"'.;.....;. ..f.;}' •.      ;Jt.;..\i:. ,;,i..
                           Acid Systems and Additives                                                      Acids may include HCI, HF, Acetic Acid, and
                                                                                                           Citric Acid with necessary inhibitors, non-
                                                                                                           emulsifiers, and anti-sludge agents, as required.
                                                                                                           The acid systems may be used for, but not
                                                                                                           limited to, mud cake removal during well clean-
                                                                                                           up and CaC0 3 scale removal. HCI
                                                                                                           concentrations up to 15% may be used.
                           Pickle Systems                                                                  HCI, pipe dope dissolver.
                           Wax Dissolution                                                                 Aromatic solvent(s).
                           Methanol                                                                        May be used for hydrate removal in the upper
                                                                                                           completion and the christmas tree.
                           Glycol                                                                          Used for hydrate inhibition.
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                           Brine Based                                                                          Clay inhibited.
                           Viscous Water-Based                                                                  HEC, Xanthan, VES, or alternative fluid
                                                                                                                systems.
                              Viscous Oil-Based                                                                 Based on RDF base oil.
                              Breakers                                                                          To break reversed gel with no delay (i.e.,
                                                                                                                surfactant-based micellar fluids).
                  li!F~),                                    ! );~.i;!:.;·;'·;··;)·             .•  '.••.      ~.\~                  ." . ; ! .~' ;.!!?jJg;:~;.j';\:..
                              Guar-Based and Additives                                                          Legally dischargeable overboard.
                              Crosslinked Fluid System for Above 300                                            Legally dischargeable overboard.
                              degrees Fahrenheit (150 degrees
                              Celsius)
                              Crosslinker                                                                       Legally dischargeable overboard.
                              Breakers                                                                          Legally dischargeable overboard.
                              Breaker Acids                                                                     Legally dischargeable overboard.
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                              Calcium Carbonate Removal System                                                  Typically acidic, minimum environmental risk.
                              Polymer Breaker System                                                            Typically acidic or oxidizer, minimum
                                                                                                                environmental risk.
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                        Mesh Distribution as determined by           Typical API meshes to include, but not limited to
                        Produced Sand Particle Size Distribution     12-18/20, 16-20/30,20-40,30-50/60,40-60/70,
                                                                     50-70. Ceramic, resieved gravel, sintered
                                                                     bauxite, and resin coated versions of the above
                                                                            sizes.

                        Solids Free Gels                             Adjustable break time by use of intemal
                                                                     breaker, consistent loss control behavior with
                                                                     reproducible regained permeability following
                                                                     acid remediation.
                        Solids Laden Pills (Calcium Carbonate,       Sized to bridge on inside of screens with
                        Salt, etc.)                                  reasonable lift-off pressures. Proof of testing
                                                                     re uired.

                 * Carrier fluid must be compatible with either water-based or oil-based drill in fluid - supported through
                 lab testing.

                 **AII proppant will meet the requirements of API 58 and API RP 60 specifications, unless COMPANY
                 specifies retention of a particular particle size distribution. A full range of proppant types and sizes are
                 required for potential program use. Proppant type and size selection will be based on application and lab
                 retention testing. CONTRACTOR shall have at least 30% excess of proppant on location, based on final
                 job design.


                 3.0    OPEN HOLE I CASED HOLE GRAVEL PACK COMPLETIONS

                        3.1   General

                              COMPANY may use oil-based mud or water-based mud. COMPANY may employ gravel
                              placement via viscous gel with alternate flow path equipment or circulating OHGP placement
                              via the alpha-beta technique; however, both gel packing and water packing provisions for
                              gravel pack services shall be available to optimize performance based on the well bore
                              construction and the reservoir conditions.

                              The gravel pack service tool shall maintain hydrostatic pressure on the formation in all tool
                              positions, have wash down functionality, and have the ability to spot fluids via the wash pipe
                              after gravel packing is completed. The gravel pack tool string shall close the fluid loss control
                              valve and the gravel circulation port isolation sleeve while pulling out the wash pipe.


                        3.2   Technical Requirements

                              3.2.1     OHGP I CHGP - General

                                        The objective of the gravel pack is to place a low skin sand face completion, annular
                                        pack for a reliable life-of-well sand control.

                              3.2.2     Pumping I Blending Equipment

                                        Equipment used for pumping gravel packs can be either skid based or on a pumping
                                        vessel. The minimum requirements for this equipment are as follows:

                                        (a)     Equipment shall be capable of pumping rates required by the completion
                                                design. OHGPs typically do not exceed 8 bpm at 5,000 psi but CHGP may




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                                             require pump rates in excess of 30 bpm with surface pressures up to 10,000
                                             psi.

                                     (b)     Blending equipment shall be capable of adding gravel at concentrations
                                             ranging from 0.5 -15 ppa, with an accuracy +/- 0.25 ppa.

                                     (c)     In the event liquid additives are required to be pumped 'on the fly,' add pumps
                                             shall be capable of metering rates of 2 to 60 US gpm and shall have 100%
                                             redundancy.

                                     (d)     All equipment shall meet or exceed COMPANY's and rig operator's safety
                                             regulations.

                             3.2.3   Gravel Carrier Fluids

                                     Water-based carrier fluids are the preferred carrier. However considerations for oil-
                                     based carriers will be considered when conditions wanrant. Circulating brine packs,
                                     water-based viscous packs, and oil-based carrier fluids may be used.

                                     OHGP carrier fluids shall be formulated to inhibit shales, be non-damaging to the
                                     formation, and be compatible with all other well bore and formation fluids.
                                     CONTRACTOR shall perform compatibility testing to ensure no adverse fluid I fluid
                                     interactions exist.    CONTRACTOR shall provide documented test results to
                                     COMPANY. CONTRACTOR shall supply samples as required to COMPANY (or
                                     designated laboratory) for fluid I mineralogical testing to ensure that the carrier fluid
                                     is compatible with the formation and provides a high level of retained permeability.

                                     The proposed fluid systems shall be evaluated on the following characteristics:

                                     (a)     Proppant transport capacity adequate for the completion technique and
                                             reservoir conditions.

                                     (b)     Non-damaging characteristics (supported by appropriate lab results and case
                                             histories) with high retained permeability.

                                     (c)     Proven, Simple, reliable, and quick mixing capability.

                                     (d)     Capability of chemicals for filter cake clean-up.

                                     (e)     Minimal environmental risk I impact.

                             3.2.4   Post Gravel Pack Treatment Fluids

                                     COMPANY may require an optimized post-placement clean-up fluid for productivity
                                     reasons. The clean-up fluid shall be required to provide the following characteristics
                                     in either an oil-based or water-based environment:

                                     (a)     Ability to breakdown polymer at different times (mud filter cake & linear gel).

                                     (b)     Ability to dissolve calcium carbonate.

                                     (c)     Corrosion inhibited at bottom hole static temperature.

                                     (d)     Emulsion f Sludge prevention.




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                             3.2.5   Gravel Placement Design

                                     CONTRACTOR shall be able to model, through computer simulation, the placement
                                     of gravel in the open hole and casing in order to optimize the design prior to and
                                     during operations. Required outputs from the simulation model shall include:

                                     (a)     Pump rates (maximum I minimum) for proppant suspension.

                                     (b)     Proppant addition rates.

                                     (c)     Volume of proppant required (open hole and blank coverage).

                                     (d)     Predicted surface and bottom hole treating pressures at all points of interest in
                                             the well.

                                     (e)     Durations of phases of gravel placement.

                                     (f)     Estimated fluid velocities at all points of interest in the well.

                                     (g)     Dune height predictions (when applicable).

                             3.2.6   Fluid Loss Control Pill

                                     COMPANY may require fluid loss control pills for:

                                     (a)     Losses while running in hole with lower completion assembly.

                                     (b)     Excessive losses during circulation tests or prior to pumping slurry.

                                     (c)     Failure or leakage of mechanical fluid loss control device.

                                     Loss control pills shall be either non-particulate or properly sized bridging material
                                     (i.e., sized Calcium Carbonate, Salt, etc.).       Non-particulate pills may include
                                     crosslinked or linear HEC or Xanthan gels, as required to cure formation losses.

                                     On flow back, loss control pills shall not leave lasting damage to formation or plugged
                                     sections of screen. Residual loss control pill material shall be capable of being
                                     removed with a simple breaker or solvent.

                                     Open hole loss control pills shall be sized to easily pass through the sand screens.

                             3.2.7   Fluid System Requirements

                                     The table below outlines the functional and technical requirements for a typical fluid
                                     system. The fluid system below ranges in gel loadings from 60-85 pptg HEC.




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                        Auid Type       VISCOUS                           Well Type



                                                                          Completion brine

                                                                          Reservoir Pressure   SOOO 7500 pSlg


                                                                          Fracture Pressure    Variable


                                                                          DfF type             WBM


                                                                          Expected OH to GP    800 to 1500 h


                                                                          Open Hole Size       7.5" & 9.5"

                        Shear Effect    flUid m us: Sl stain presence
                        Requiremem      above the reference cunie for     Max H,S              o ppm

                                        rlfter cay~e cleanup chemicals
                        Other
                                        e.q.chelan:s, enzvme or ox!dser   Workstring size      4" '(T39 & 5 7i3 XT 57
                        Additives

                        Recovery
                                        N/A                               Max C02              0.05 Mol %
                        Time
                                       .'   Hu:d I ested at ~HI-I for
                                                                                               5 Y,." 20p:Jt A.lternate Path
                        Fluid Heat          calculated pumping :Ime
                                                                          SUE"E'n sizPj Type
                        Ramp
                                                                                               4'- 11 .6:Jpt Alterra:e Path


                                                                                               40/60 Ec::moprop




                 4.0       CASED HOLE FRAC PACK (CHFP) COMPLETIONS

                           4.1         General

                                       The main objective of a CHFP is to provide highly productive, reliable sand control
                                       completions.

                                       A typical frac pack includes:

                                       4.1.1        Workstring pickle

                                       4.1.2        Circulation tests (circulate and reverse)

                                       4.1.3        Fluid loss pill breaker treatment (Le., pre-fracturing acid clean-up)

                                       4.1.4        Mini-frac (fluid calibration test)

                                       4.1.5        Step-rate test

                                       4.1.6        Step-down test (could be required by injection pressures - infrequent)

                                       4.1.7        Main frac treatment

                                       4.1.8        Reverse out excess slurry Ire-stress



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                        4.2   Technical Requirements

                              4.2.1   Pumping Equipment

                                      Equipment used for pumping frac packs can be either skid based or on a pumping
                                      vessel. The minimum requirements for this equipment are as follows:

                                      (a)     Capable of pumping at rates up to 50 bpm at pressures up to 14,000 psi.

                                      (b)     Capable of blending gravel and additives at rates up to 50 bpm and
                                              concentrations up to 15 ppa with accuracy within +/- 0.5 ppa, and 2% additive
                                              variance.

                                      (c)     Sufficient redundancy of required equipment to execute the design in the event
                                              of equipment failure.

                                      (d)     100% redundancy of critical components (i.e., densitometer, critical additive
                                              pumps, etc.).

                              4.2.2   Frac Pack Fluids

                                      Fracturing fluids shall be designed with COMPANY engineer. Typical fluids are guar-
                                      based (or any of its derivatives), borate crosslinked brines designed for high early
                                      viscosity development with rapid break when exposed to reservoir temperature. In
                                      general, fluid viscosities shall be greater than 100 - 200 centipoises at 170 sec· 1 for
                                      the planned duration of injection time. This requires on-site testing of fluids, mixed
                                      with on-site additives, to confirm required fluid properties. Fluid system shall be
                                      compatible with resin coated proppant in the event that this media is utilized. Third
                                      Party quality assurance personnel may be utilized to document fluid performance.
                                      CONTRACTORs shall provide berth space to accommodate these personnel on
                                      Stimulation Vessels.

                              4.2.3   Fluid Loss Control! Kill Pills

                                      COMPANY may require fluid loss control pills for

                                      (a) Post perforating losses

                                      (b) Failure or leakage of mechanical fluid loss control device

                                      Loss control pills shall be either non-particulate or properly sized bridging material
                                      (i.e., sized Calcium Carbonate, Salt, etc.).       Non-particulate pills may include
                                      crosslinked or linear HEC or Xanthan gels, as required to cure formation losses.

                                      On flow back, loss control pills shall not leave lasting damage to the annular pack or
                                      plug the screens. Residual loss control pill material shall be capable of being
                                      removed with a simple breaker or solvent.

                              4.2.4   Fracture Placement Design

                                      CONTRACTOR shall be able to model, through computer simulation, the placement
                                      of gravel in the fracture in order to optimize the design prior to and during operations.
                                      Required outputs from the simulation model shall include:



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                                        (a)     Predicted surface and bottom hole treating pressures

                                        (b)     Stage front prediction of gravel placement

                                        (c)     Frac width, height, and length

                                        (d)     Proppant placed in fracture

                                        (e)     Proppant distribution within fracture

                                        (f)     Estimate fluid efficiency and predicted time to Tip Screenout (TSO)

                                        (g)     Fluid loss rate through fracture placement duration

                                        (h)     Predicted net pressure gain

                                        (i)     Closure time estimate

                              4.2.5     Other Completion Output Data

                                        (a)     Workstring hydrostatic pressure during proppant placement

                                        (b)     Real-time net pressure during proppant placement

                                        (c)     Real-time maximum allowable surface treating pressure

                                        (d)     Real-time surface pressure, rate, and density of proppant

                                        (e)     Amount of proppant placed:

                                                (i)   In the fracture

                                                (ii) Around screens

                                                (iii) Around blank (including blank height)

                                                (iv) In workstring above crossover (needing to be reversed out)


                 5.0    QUALITY ASSURANCE

                        5.1   General

                              CONTRACTOR shall provide QA I QC of the pumping equipment and fluids.


                        5.2   General Requirements

                              Quality assurance measures shall be implemented for all aspects of the WORK.
                              CONTRACTOR shall provide the following for review by COMPANY:

                              5.2.1     Verification of CONTRACTOR's checklist and maintenance programs for gravel pack
                                        equipment.




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                             5.2.2   Traceability of all chemicals.

                                     (a)     Lot numbers

                                     (b)     Shelf Life

                             5.2.3   Certification records oftreating iron.

                             5.2.4   QA / QC Fluids Onshore

                                     In preparation for each job, a fluids statement of requirements (SOR) will be given to
                                     CONTRACTOR by COMPANY such that CONTRACTOR has sufficient time to blend
                                     a fluid formulation that meets the requirements for the sand face completion.

                             5.2.5   QA / QC Job Design

                                     In preparation for each job, CONTRACTOR shall supply design data prior to the
                                     execution of the job. The job preparation packet shall include the following:

                                     (a)     Laboratory fluid design data with break data of fluid in increments of 0, 15, 30,
                                             60,90, 120,240, and 1,440 minutes.

                                     (b)     Verification that fluid can be pumped at surface conditions without losing pump
                                             prime.

                                     (c)     Sand settling rates.

                                     (d)     Calculations of estimated volumes of fluid required for job including excess.

                                     (e)     Calculation of Maximum Allowable Surface Pressure (MASP) based on tool
                                             string given by COMPANY.

                                     (f)     Table of displacement volume as a function of MASP.

                                     (g)     Table of displacement volume as a function of reversing pressure.

                                     (h)     Prediction of circulation rates and pressures.

                                     (i)     Prediction of OHGP f CHPG.

                             5.2.6   QA / QC Equipment Preparation

                                     CONTRACTOR shall test the major components of the equipment which will be used
                                     in the lower completion in a yard test prior to the completion load out. Equipment
                                     shall be quarantined prior to shipping to WORKSITE. A yard test will be accepted
                                     and the equipment ready for the job when the following parameters are met:

                                     (a)     Hydraulic Horsepower test (meets 100% HHP of pumps).

                                     (b)     Densitometer calibration (+1- 0.5%).

                                     (c)     Liquid Additive pump testing (+1- 2%).

                                     (d)     Flow meter calibration (+/- 2%).




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                                      (e)     Communications to monitoring station are functional.

                                      (f)     All licenses to proprietary software are verified to be up to date.

                              5.2.7   WORKSITE Fluid QA I QC

                                      Quality control of all fluids to be pumped on WORKSITE is required. This includes
                                      the following:

                                      (a)     Detail field mixing procedures.

                                      (b)     QA I QC lab with capabilities noted above.

                              5.2.8   Proppants

                                      A sample of the proppant shipped to the WORKSITE shall be measured and comply
                                      with the requirements of API 58 and API RP 60.


                 6.0    REFERENCES

                        ISO 11960 (API Spec SCn:          Petroleum and natural gas industries - Steel pipes for use as
                                                          casing or tubing for wells.

                        ISO 14310 (API Spec 1101):        Petroleum and natural gas industries - Downhole equipment -
                                                          packers and bridge plugs.

                        NACE MR-01-75:                    Sulfide stress cracking resistant materials for oilfield equipment.

                        API Specification 6A718:          Specification of Nickel Base Alloy 718 (UNS N07718) for Oil and
                                                          Gas Drilling and Prod uction Equipment. 1st Edition March 2004*

                        * - Note In addition to the requirements of API Spec 6A718, COMPANY has a further requirement
                        that the minimum total hot work reduction ratio shall be 4:1 and not 3.75:1 as per Section 4.1.3.1 of
                        AP16A718.


                        BP References:

                        GIS 02-201:          Specification for OCTG Seamless Casing & Tubing (Standard Grades).

                        GIS-02-203:          Specification for OCTG Crossover Connectors.

                        GIS-02-204:          Specification for OCTG Sour Resistant Grade C110 Low Alloy Steel OCTG
                                             Seamless Casing.

                        GIS-02-205:          Specification for Duplex and Super Duplex 25% Chrome Stainless Steel
                                             Seamless Pipe.

                        GIS-02-206:          Specification for Duplex and Super Duplex 25% Chrome Stainless Steel
                                             Seamless Pipe.

                        BP-EPT-IAS-01:       Integrity Assurance Specification - For the Procurement of Critical equipment
                                             for Drilling and Completions.




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                        For undated references, the latest edition of the normative document referred to applies.


                 7.0    DEFINITIONS AND ABBREVIATIONS

                        For the purposes of this Part 2 - Offshore Sand Face Pumping, the following definitions and
                        abbreviations will apply:

                        API:              American Petroleum Institute
                        bbl:              Barrel
                        BHP:              Bottom Hole Pressure
                        bpm:              Barrels Per Minute
                        CHFP:             Cased Hole Frac Pack
                        CHGP:             Cased Hole Gravel Pack
                        C&P:              Cased and Perforated
                        DHFC:             Downhole Flow Control
                        EC:               Expandable Completions
                        FLCV:             Fluid Loss Control Valve
                        GoM:              Gulf of Mexico
                        GP:               Gravel Pack
                        gpm:              Gallons per Minute
                        HEC:              Hydroxyethyl Cellulose
                        HHP:              Hydraulic Horsepower
                        ID:               Internal Diameter
                        Ib:               Pounds
                        mbd:              Thousand Barrels Per Day
                        OD:               Outside Diameter
                        OHGP:             Open Hole Gravel Pack
                        OHZI:             Open Hole Zonal Isolation
                        pptg:             Pounds Per Thousand Gallons
                        ppa:              Pounds Proppant Added Per US Gallon
                        psi:              Pounds per Square Inch
                        QA:               Quality Assurance
                        QC:               Quality Control
                        RDF:              Reservoir Drilling Fluid
                        RIH:              Run In Hole
                        SAS:              Stand Alone Screens
                        SOBM:             Synthetic Oil-Based Mud
                        TSO:              Tip Screenout
                        VES:              Visco-elastic Surfactant




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                                                         Part 3 - Lower Completions

                 1.0    INTRODUCTION

                        These are the functional and technical specifications for Lower Completions.

                        1.1    General

                               The development wells programs will require a range of different lower completion types.
                               Further details can be found in Part 6 - Well-Bore Information for representative well types.


                        1 .2   Lower Completion Description

                               The list below is a summary of the potential lower completion types.

                               1.2.1     Producers:

                                         (a)     Cased Hole Frac Pack (CHFP)

                                         (b)     Cased Hole Gravel Pack (CHGP)

                                         (c)     Dual Zone Gravel Packs (Lower Zone Open Hole and Upper Zone Cased)

                                         (d)     Cased Hole High Rate Gravel Pack.

                                         (e)     Cased Hole High Rate Water Pack

                                         (f)     Cased and Perforated (C&P)

                                         (g)     Open Hole Gravel Pack (OHGP)

                                         (h)     Expandable Completion (EC)

                               1.2.2     Injectors (water f gas):

                                         (a)     Cased Hole Frac Pack (CHFP)

                                         (b)     Stand Alone Screens (SAS)

                                         (c)     Expandable Completion (EC)

                                         (d)     Cased Hole Gravel Packs (CGFP)

                                         The majority of lower completions are expected to be CHFP. There may be some
                                         CHGP applications. Both SAS and ECs shall have the capability to accommodate
                                         Open Hole Zonal Isolation (OHZI) and Downhole Flow Control (DHFC).


                 2.0    GENERAL REQUIREMENTS

                        2.1    Production Casing and Tubing Summary




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                                Casing sizes for the typical wells can be found in Part 6 - Well-Bore Information for
                                representative well types. Tubing sizes for the individual projects can be found in Appendix 3
                                and/or Appendix 4.


                        2.2     Connections

                                Unless specified otherwise herein, connections shall be a VAM-type premium connection.


                        2.3     Metallurgy

                                All completion component metallurgy shall be an equivalent or superior grade to the tubing
                                unless otherwise specified by COMPANY. All selection of materials shall be subject to
                                COMPANY approval.

                                The producers shall have a minimum grade of ISO 11960 (API 5CT) L80 13Cr, AISI 410 or
                                AISI 420 modified. COMPANY may specify Super 13Cr or 25Cr. If a high strength
                                alternative is required, it shall be Alloy 718 or equivalent. Injectors shall have a minimum
                                grade of 25Cr, with nickel alloy 718 or equivalent as approved by COMPANY. COMPANY
                                may require high strength alternatives to meet project requirements.

                                All components made from L80 13Cr, AISI 410 or AISI 420 modified shall conform to ISO
                                11960 (API5CT), BP GIS-02-201 and BP GIS-02-203. All Super Duplex stainless steel shall
                                conform to ISO 11960, BP GIS-02-206, and BP GIS-02-204.

                                All components made from Alloy 718 shall conform to API Specification API 6A718.
                                COMPANY has a further requirement that the minimum total hot work reduction ratio shall be
                                4:1 and not 3.75:1, as per Section 4.1.3.1 of API 6A718. All equipment material selection
                                shall be subject to a metallurgy review to ensure acceptability regarding corrosion I erosion
                                performance, material specifications and supplier qualification.

                                All components shall meet the requirements of NACE MR-01-75 unless otherwise stated by
                                COMPANY on WORK ORDER.


                        2.4     Elastomers

                                Examples of production, completion, and intervention fluids that will be seen by the wells
                                throughout field-life are Sodium Chloride I Bromide, Calcium Chloride I Bromide brines,
                                natural gas, condensates, and gravel I frac packing fluids. Recommendations shall be made
                                for elastomers that are suitable for project conditions. Elastomer recommendations shall be
                                subject to COMPANY approval but suggested elastomers are as follows:

                                                           Typical Elastomer Seals

                              Seal Type                      Elastomer
                              Packer elements                HNBR, Nitrile, CHEMRAZ, AFLAS, Viton
                              Chevron sets                   HNBR, FKM, Viton, plus PTFE, plus PEEK
                              O-rings, T-seals etc           HNBR, FKM, Viton, plus PEEK back-ups
                              Safety valve                   Non-elastomer

                                Final elastomer specification shall be made by COMPANY on WORK ORDER. Compatibility
                                testing shall be required for all production and completion fluids.




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